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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND


 STATE OF NEW YORK; STATE OF
 CALIFORNIA; STATE OF ILLINOIS; STATE OF
 RHODE ISLAND; STATE OF NEW JERSEY;
 COMMONWEALTH OF MASSACHUSETTS;
 STATE OF ARIZONA; STATE OF COLORADO;
 STATE OF CONNECTICUT; STATE OF              C.A. No. 1:25-cv-00039
 DELAWARE; THE DISTRICT OF COLUMBIA;
 STATE OF HAWAI’I; STATE OF MAINE; STATE
 OF MARYLAND; STATE OF MICHIGAN; STATE
 OF MINNESOTA; STATE OF NEVADA; STATE
 OF NORTH CAROLINA; STATE OF NEW
 MEXICO; STATE OF OREGON; STATE OF
 VERMONT STATE OF WASHINGTON; STATE
 OF WISCONSIN,

             Plaintiffs,

       v.

 DONALD TRUMP, IN HIS OFFICIAL CAPACITY
 AS PRESIDENT OF THE UNITED STATES; U.S.
 OFFICE OF MANAGEMENT AND BUDGET;
 MATTHEW J. VAETH, IN HIS OFFICIAL
 CAPACITY AS ACTING DIRECTOR OF THE
 U.S. OFFICE OF MANAGEMENT AND
 BUDGET; U.S. DEPARTMENT OF THE
 TREASURY; SCOTT BESSENT, IN HIS
 OFFICIAL CAPACITY AS SECRETARY OF THE
 TREASURY; PATRICIA COLLINS IN HER
 OFFICIAL CAPACITY AS TREASURER OF THE
 U.S.; U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES; DOROTHY A. FINK, M.D.,
 IN HER OFFICIAL CAPACITY AS ACTING
 SECRETARY OF HEALTH AND HUMAN
 SERVICES; U.S. DEPARTMENT OF
 EDUCATION; DENISE CARTER, IN HER
 OFFICIAL CAPACITY AS ACTING SECRETARY
 OF EDUCATION; U.S. FEDERAL EMERGENCY
 MANAGEMENT AGENCY; CAMERON
 HAMILTON, IN HIS OFFICIAL CAPACITY AS
 ACTING ADMINISTRATOR OF THE U.S.
 FEDERAL EMERGENCY MANAGEMENT


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  AGENCY; U.S. DEPARTMENT OF
  TRANSPORTATION;
  JUDITH KALETA, IN HER OFFICIAL
  CAPACITY AS ACTING SECRETARY OF
  TRANSPORTATION;
  U.S. DEPARTMENT OF LABOR; VINCE
  MICONE, IN HIS OFFICIAL CAPACITY AS
  ACTING SECRETARY OF LABOR; U.S.
  DEPARTMENT OF ENERGY; INGRID KOLB, IN
  HER OFFICIAL CAPACITY AS ACTING
  SECRETARY OF THE U.S. DEPARTMENT OF
  ENERGY; U.S. ENVIRONMENTAL
  PROTECTION AGENCY; JAMES PAYNE, IN HIS
  OFFICIAL CAPACITY AS ACTING
  ADMINISTRATOR OF THE U.S.
  ENVIRONMENTAL PROTECTION AGENCY;
  U.S. DEPARTMENT OF HOMELAND
  SECURITY; KRISTI NOEM, IN HER CAPACITY
  AS SECRETARY OF THE U.S. DEPARTMENT
  OF HOMELAND SECURITY; U.S.
  DEPARTMENT OF JUSTICE; JAMES R.
  McHENRY III, IN HIS OFFICIAL CAPACITY AS
  ACTING ATTORNEY GENERAL OF THE U.S.
  DEPARTMENT OF JUSTICE; THE NATIONAL
  SCIENCE FOUNDATION and DR.
  SETHURAMAN PANCHANATHAN, IN HIS
  CAPACITY AS DIRECTOR OF THE NATIONAL
  SCIENCE FOUNDATION,

                 Defendants.



                         AFFIRMATION OF KEITH D. HOFFMANN


        KEITH D. HOFFMANN, an attorney duly admitted to practice before the Courts of this

 State, does hereby state the following under penalty of perjury pursuant to 28 U.S.C. § 1746:

        1.      I am Keith D. Hoffmann, Chief of Policy and Assistant Attorney General in the

 Office of the Attorney General for the State of Rhode Island, who appears on behalf of the State

 of Rhode Island in this action.



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        2.      I submit this declaration in support of Plaintiffs States’ Motion for a Temporary

 Restraining Order pursuant to Federal Rule of Civil Procedure 65. The facts set forth herein are

 based upon my personal knowledge and/or a review of the files in my possession.

        3.      I have attached hereto this affirmation true and correct copies of factual

 declarations, as noted herein:

        4.      Declaration dated January 28, 2025 of Kori Kappes, Chief Financial Officer of the

 Department of Economic Security (“DES”) for the State of Arizona;

        5.      Declaration dated January 28, 2025 of John F. Scott II, Director of the Arizona

 Department of Veterans’ Services;

        6.      Declaration dated January 28, 2025 of Jeff Tegen, Assistant Director of the

 Division of Business and Finance at the Arizona Health Care Cost Containment System

 Administration;

        7.      Declaration dated January 28, 2025 of Nicole Witt, Assistant Director of Public

 Health Preparedness for the Arizona Department of Health Services;

        8.      Declaration dated January 28, 2025 of Susan Dzbanko, Deputy Director of the

 Arizona Department of Homeland Security;

        9.      Declaration dated January 28, 2025 of Nancy Farias Womack, Director of the

 California Employment Development Department;

        10.     Declaration dated January 28, 2025, of Kim Bimestefer, Executive Director for

 Colorado’s Department of Health Care Policy & Financing;

        11.     Declaration dated January 28, 2025 of Stan Hilkey, Executive Director at

 Colorado’s Department of Public Safety;

        12.     Declaration dated January 28, 2025 of Michelle Barnes, Executive Director of



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 Colorado’s Department of Human Services;

        13.    Declaration dated January 28, 2025 of Maria De Cambra, Executive Director of the

 Colorado Department of Local Affairs;

        14.    Declaration dated January 28, 2025 of Mike Ferrandino, Director of the Office of

 State Planning and Budgeting for the State of Colorado;

        15.    Declaration dated January 28, 2025 of Jeffrey Beckham, Secretary of the

 Connecticut Office of Policy and Management;

        16.    Declaration dated January 28, 2025 of Colleen C. Davis, State Treasurer of

 Delaware;

        17.    Declaration dated January 28, 2025 of Krishnanda Tallur, Deputy State

 Superintendent of the Office of Finance and Operations in the Maryland State Department of

 Education;

        18.    Declaration dated January 28, 2025 of Matthew J. Gorkowicz, Secretary of

 Administration and Finance for the Commonwealth of Massachusetts;

        19.    Declaration dated January 28, 2025 of Michael F. Rice, PhD, Superintendent of

 Public Instruction within the Michigan Department of Education;

        20.    Declaration dated January 28, 2025 of Elizabeth Hertel, Director the Michigan

 Department of Health and Human Services;

        21.    Declaration dated January 28, 2025 of Beverly Walker-Griffea, Ph.D., Director of

 the Michigan Department of Lifelong Education, Advancement and Potential;

        22.    Declaration dated January 28, 2025 of Ahna Minge, Assistant Commissioner for

 Budget Services and State Budget Director at Minnesota Management and Budget;

        23.    Declaration dated January 28, 2025 of Adrienne Kreipke, Chief Financial and



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 Operations Officer for the Department of Environmental Protection (“NJDEP”) located in the State

 of New Jersey;

        24.       Declaration dated January 28, 2025 of Ed Wengryn, Secretary of Agriculture at the

 New Jersey Department of Agriculture;

        25.       Declaration dated January 28, 2025 of Sarah Adelman, Commissioner of the New

 Jersey Department of Human Services;

        26.       Declaration dated January 28, 2025 of Kaitlin Baston, MD, MSc, DFASAM,

 Commissioner of the New Jersey Department of Health;

        27.       Declaration dated January 28, 2025 of Kathleen Ehling, Assistant Commissioner

 for the Division of Educational Services within the New Jersey Department of Education;

        28.       Declaration dated January 28, 2025 of Kari Armijo, Cabinet Secretary for the New

 Mexico Health Care Authority;

        29.       Declaration dated January 28, 2025 of Wayne Propst, Cabinet Secretary for the

 New Mexico Department of Finance and Administration;

        30.       Declaration dated January 28, 2025 of Blake Washington, Director of the New

 York State Division of the Budget;

        31.       Declaration dated January 28, 2025 of Jonathan Womer, Director of the Rhode

 Island Department of Administration;

        32.       Declaration dated January 28, 2025 of Katharine K.D. Chapman-See, Director of

 the Office of Financial Management for the State of Washington;

        33.       Declaration dated January 28, 2025 of Elizabeth Maher Muoio, State Treasurer of

 the State of New Jersey.




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 Dated: Providence, Rhode Island
        January 28, 2025

                                                  /s/ Keith D. Hoffmann
                                                      Keith D. Hoffmann
                                                  Assistant Attorney General




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                      DECLARATION OF NANCY FARIAS WOMACK

                I, Nancy Farias Womack, declare as follows:
        1.      I am a resident of the State of California. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except to those matters stated upon information

 and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.      I am currently employed as the Director of the California Employment

 Development Department (EDD or Department).

        3.      EDD enhances California's economic growth and prosperity by collaboratively

 delivering valuable and innovative services to meet the evolving needs of employers, workers,

 and job seekers. The Department connects employers with job seekers, administers the

 Unemployment Insurance, Disability Insurance, and Paid Family Leave programs, and provides

 employment and training programs under the federal Workforce Innovation and Opportunity

 Act. Additionally, the Department collects various employment payroll taxes including the

 personal income tax, and collects and provides comprehensive economic, occupational, and

 socio-demographic labor market information concerning California's workforce.

        4.      EDD is the program administrator for itself, the California Unemployment

 Insurance Appeals Board (CUIAB), and the California Workforce Development Board (CWDB),

 all of which are instrumentalities of California State government. Upon information and belief,

 as program administrator, EDD is responsible for accessing the Federal grant funding for these

 entities and making it available for expenditure.

        5.      As EDD’s Director, I have knowledge of Federal financial assistance that EDD

 and these EDD receive in the form of grants.



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        6.       Upon information and belief, EDD and the State government entities for which it

 is program administrator currently have $1.3 billion in open grants from the Federal government.

 These grants support the following programs or activities: Unemployment Insurance

 administration, the Workforce Innovation and Opportunity Act program, Wagner-Peyser

 program, Jobs for Veterans state grant, and integral job training and placement services, among

 many other critical programs.

        7.       Upon information and belief, the Memorandum for Heads of Executive

 Departments and Agencies, M-25-13, dated January 27, 2025, issued by the Executive Office of

 the President of the United States, Office of Management and Budget, Matthew J. Vaeth, Acting

 Director, regarding “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance

 Programs” (“OMB Memo”) orders our Federal grant funding agencies to “pause” all activities

 related to disbursement of all Federal financial assistance, which I understand would include

 Federal grant disbursements to EDD, CUIAB, CWDB, including for the programs and services

 discussed above.

        8.       As a result of the OMB Memo, EDD has not been able to access Federal grant

 funding. EDD’s attempt to login to the federal system to access these Federal funds have been

 unsuccessful.

        9.       The OMB Memo creates confusion and uncertainty for EDD and the agencies for

 which it is program administrator about whether and when we will receive Federal grant

 disbursements, including how long the grant funding will be “paused.” The pause ordered by the

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 OMB Memo will stop us for an indefinite period from serving and meeting some of our critical

 missions. Any pause in our federal funding would cause irreparable harm.




 I declare under penalty of perjury that the foregoing is true and correct.

             Executed on January 28, 2025, at Sacramento, California.




                                               _____________________________________
                                                      Nancy Womack Farias, Director




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                DECLARATION OF KIM BIMESTEFER IN SUPPORT OF
          THE STATE OF COLORADO’S COMPLAINT FOR DECLARATORY AND
                             INJUNCTIVE RELIEF


 I, KIM BIMESTEFER, declare and state as follows:

          1.    I am the Executive Director for Colorado’s Department of Health Care Policy &

 Financing (“HCPF”). I make this declaration based on my own personal knowledge. If called upon

 to testify, I could and would testify completely to the truth of the matters stated herein.

          2.    As Executive Director, I have personal knowledge of the matters set forth below,

 or have knowledge of the matters based on my review of information and records gathered by my

 staff.

          3.    I am providing this declaration to explain certain impacts of the memorandum

 “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance Programs,” Matthew

 J. Vaeth, Acting Director of the Office of Management and Budget (January 28, 2025) (“OMB

 Memo”), which pauses all activities related to obligation or disbursement of all Federal financial

 assistance, and other relevant agency activities that may be implicated by certain executive orders,

 on the State of Colorado.

          4.    As of January 28, 2025, the memo has had crippling effects on the operations of

 the State of Colorado, including but not limited cessation of disbursement of funds essential to

 critical state operations supporting healthcare.

          5.    Specifically, Colorado currently receives more than $11 billion in annual federal

 funding, including $9 billion in Medicaid funding.




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        6.       As of yesterday, HCPF was notified by Payment Management Services, which

 processes grant payments for the federal government, that due to the OMB Memo, grant payments

 would be delayed or rejected.




        7.       The mission of HCPF is to improve healthcare equity, access and outcomes for the

 people we serve while saving Coloradans money on healthcare and driving value for Colorado.

        8.       Colorado Medicaid and Colorado’s Children’s Health Insurance Program (CHIP)

 provide healthcare coverage for more than 1.2 million Coloradans, more than any other healthcare

 payer in the state. Federal matching payments make up 57% of Colorado’s Medicaid and CHIP

 total budget.

        9.       I estimate the total amount of funding implicated as follows:

              a. Total federal funds estimated for State Fiscal Year 24-25 (SFY, July 1, 2024 -

                 June 30, 2025) are $8.9 billion.

              b. The Federal Fiscal Year 24-25 Q2 estimate of remaining funds implicated is

                 $1.92 billion.

        10.      Colorado submits Medicaid/CHIP drawdown requests through the federal Payment

 Management Services system on a daily basis. Estimated federal funds disbursement for Colorado

 for the next two weeks is approximately $185 million. The system was unavailable for the federal

 draw for January 28, 2025, of $12 million. The State had already submitted the payments to

 healthcare providers and program vendors. The system remains unavailable at this time and

 federal funds have not been paid.

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        11.     The State of Colorado alone cannot cover the costs required to maintain Colorado

 Medicaid and CHIP provider payments, program systems, and other costs associated with these

 vital benefits. Coloradans’ coverage for - and therefore their access to - vital preventive and urgent

 healthcare services will be interrupted if the OMB memo continues to block federal matching

 payments to the State of Colorado.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge.

        Executed this 28th day of January, 2025, in Denver, Colorado.




                                                   KIM BIMESTEFER
                                                   Executive Director, Colorado Department of
                                                   Health Care Policy and Financing




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                  DECLARATION OF STAN HILKEY IN SUPPORT OF
          THE STATE OF COLORADO’S COMPLAINT FOR DECLARATORY AND
                           INJUNCTIVE RELIEF AND


 I, Stan Hilkey, declare and state as follows:

          1.    I am Executive Director at Colorado’s Department of Public Safety (“CDPS”). I

 make this declaration based on my own personal knowledge. If called upon to testify, I could and

 would testify completely to the truth of the matters stated herein.

          2.    As Executive Director, I have personal knowledge of the matters set forth below,

 or have knowledge of the matters based on my review of information and records gathered by my

 staff.

          3.    I am providing this declaration to explain certain impacts of the memorandum

 “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance Programs,” Matthew J.

 Vaeth, Acting Director of the Office of Management and Budget (January 28, 2025) (“OMB

 Memo”), which pauses all activities related to obligation or disbursement of all Federal financial

 assistance, and other relevant agency activities that may be implicated by certain executive orders,

 on the State of Colorado.

          4.    As of noon on January 28, 2025, the memo has had crippling effects on the

 operations of the State of Colorado, including but not limited cessation of disbursement of funds

 essential to critical state operations supporting public safety.

          5.    Specifically, Colorado currently receives more than $11 billion in annual federal

 funding. DPS’s divisions estimate that they have over $987 million in grant money that has been

 awarded but not distributed to the agencies. DPS’s divisions receive over $1 million per month in

 federal payroll support to provide public safety services to the State of Colorado.

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         6.       As of this morning, multiple divisions of CDPS (including the Department of

 Homeland Security and Emergency Management, the Colorado State Patrol, the Division of

 Criminal Justice, and the Department of Fire Prevention and Control) were notified by Payment

 Management Services, which processes grant payments for the federal government, that due to the

 OMB Memo, grant payments would be delayed or rejected.

         7.       The mission of CDPS is to safeguard lives and provide diverse public safety

 services to local communities.

         8.       The Colorado Department of Homeland Security and Emergency Management

 (DHSEM) estimates that it has over $867 million in federal grants that it has been awarded but has

 not yet received from the federal government.

         9.       The State Homeland Security Grant Program has over $4.3million outstanding for

 2024. The program provides risk-based grants to assist state, local, tribal and territorial efforts in

 preventing, protecting against, mitigating, responding to and recovering from acts of terrorism and

 other threats.

         10.      The Emergency Management Performance Grant has over $5 million outstanding

 for each of 2023 and 2024. The program provides state, local, tribal and territorial emergency

 management agencies with the resources required for implementation of the National Preparedness

 System and works toward the National Preparedness Goal of a secure and resilient nation. The

 grant’s allowable costs support efforts to build and sustain core capabilities across the prevention,

 protection, mitigation, response and recovery mission areas.

         11.      The Urban Area Security Initiative has over $3.5 million outstanding for 2024; that

 focuses on enhancing the ability of high-risk urban areas to prevent, prepare for, protect against,

 and respond to potential terrorist attacks.



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        12.     The State Local Cyber Security Grant program has over $6 million outstanding for

 2024; it provides funding to eligible entities to address cybersecurity risks and threats to

 information systems owned or operated by or on behalf of state, local, or tribal governments.

        13.     Other impacted grants include the Targeted Violence and Terrorism Prevention

 program (providing funding to establish or enhance capabilities to prevent targeted violence and

 terrorism), the Emergency Operations Center Grant program (improves emergency management

 and preparedness capabilities), FEMA’s Public Assistance Program (providing assistance so

 communities can quickly respond to and recover from major disasters or emergencies), the

 Nonprofit Security Grant Program (to enhance security for nonprofit organizations that are at high

 risk of terrorist attack), the STOP School Violence program (improving school safety by providing

 students, teachers, and staff with the tools to recognize, respond quickly to, and prevent acts of

 violence), the Shelter and Services Program (which supports Customs and Border Protection in

 the safe, orderly, and humane release of noncitizen migrants from short-term holding facilities),

 and grants to “develop, improve, and carry out emergency plans” within the National Response

 System and the Emergency Planning and Community Right-to-Know Act of 1986.

        14.     DHSEM estimates that approximately $610,000 in monthly payroll are supported

 through federal grants.

        15.     Lack of federal grant funds will slow local disaster recovery, leaving Colorado

 vulnerable to natural disasters in the middle of winter.

        16.     Without federal grants, DHSEM could be forced to shut down the cybersecurity

 end-point detection programs for local governments.

        17.     The Department of Criminal Justice (DCJ) estimates that it has been awarded over

 $156 million in grant funding, of which over $120 million has yet to be paid to DCJ.



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         18.        The DCJ serves as the State Administrating Agency for federal Department of

 Justice funding. In this role, the DCJ is responsible for managing and distributing federal grants

 to support statewide and local criminal justice and public safety initiatives. This includes

 overseeing programs that directly support law enforcement, victim services, crime prevention, and

 reentry efforts.

         19.        The DCJ relies on the grants it has been awarded to provide statewide support to

 victims of human trafficking and violent crimes such as rape, sexual assault, aggravated assault

 and domestic violence; support for law enforcement officers to ensure they have the resources they

 need to safely perform their duties; crime prevention efforts that support community collaborations

 to ensure long-term crime reductions; and services to support those who are involved in the

 criminal justice system at all levels.

         20.        DCJ regularly draws down approximately $10 million of its grant funds per quarter

 to enable administration of its programs. DCJ has not received funds since December 2024. DCJ

 has 40 individuals whose positions are funded fully or in part by federal grant dollars, representing

 39% of DCJ staff.

         21.        The Colorado State Patrol (CSP) estimates that it receives approximately $550,000

 per month from the federal government to assist with payroll expenses for employees working on

 federal joint task forces and on commercial motor vehicle safety.

         22.        CSP will not be able to provide commercial vehicle regulation and enforcement

 services to Colorado without the federally-supported FTE impacted by this decision.

         23.        The Department of Fire Prevention and Control (DFPC) estimates that it receives

 approximately $50,000 in monthly payroll support from federal grants.




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        24.     DFPC is in the midst of the vital fire mitigation season; without federal support it

 will be unable to provide mitigation services, endangering Coloradan’s lives and property in the

 upcoming fire season.



 I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.



 Executed this 28th day of January, 2025, in Lakewood, Colorado.


                                                   /s/
                                                   Stan Hilkey
                                                   Director, Colorado Department of Public
                                                   Safety




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               DECLARATION OF MICHELLE BARNES IN SUPPORT OF
          THE STATE OF COLORADO’S COMPLAINT FOR DECLARATORY AND
                           INJUNCTIVE RELIEF AND


 I, Michelle Barnes, declare and state as follows:

          1.     I am the Executive Director of Colorado’s Department of Human Services

 (“CDHS”). I make this declaration based on my own personal knowledge. If called upon to testify,

 I could and would testify completely to the truth of the matters stated herein.

          2.     As Executive Director, I have personal knowledge of the matters set forth below,

 or have knowledge of the matters based on my review of information and records gathered by my

 staff.

          3.     I am providing this declaration to explain certain impacts of the memorandum

 “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance Programs,” Matthew

 J. Vaeth, Acting Director of the Office of Management and Budget (January 28, 2025) (“OMB

 Memo”), which pauses all activities related to obligation or disbursement of all Federal financial

 assistance, and other relevant agency activities that may be implicated by certain executive orders,

 on the State of Colorado.

          4.     The mission of CDHS is to support people and families by connecting them with

 assistance, resources and support at every stage of their lives.

          5.     CDHS currently receives more than $981 million in annual federal funding to

 support delivery of services that support child welfare, economic assistance, behavioral health and

 older adults.




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        6.      As of the morning of January 28, 2025, CDHS can no longer access its federal grant

 databases where it seeks reimbursement for major grant programs like Temporary Assistance for

 Needy Families (TANF), Title IV-E, and Medicaid.

        7.      The OMB’s ongoing pause will have significant immediate and long-term impacts

 on the CDHS’s ability to deliver services to its constituents.

        8.      First, the uncertainty caused by the OMB memo and anticipated funding pause

 creates significant risk for Colorado and will have an immediate detrimental impact on its ability

 to provide services to its constituents.

        9.      Without knowing whether and when federal dollars will be reimbursed on

 reimbursement-based grants, for instance, state agencies may not be able to outlay those funds,

 causing immediate pause or termination of government services in some sectors.

        10.     The memorandum has resulted in widespread consternation and confusion from

 sub-grantees contracted with agencies around whether work conducted between now and February

 10th will be reimbursed. Agencies are uncertain how to advise or whether to stop certain activities

 to the detriment of critical service delivery modalities.

        11.     CDHS receives federal drawdown on a variety of timelines, including on an ad hoc

 reimbursement basis, monthly, or quarterly basis. CDHS receives approximately $8 million in

 monthly reimbursements for Titles IV-E and IV-B of the Social Security Act, which support

 critical child welfare activities. The Supplemental Nutrition Assistance Program (SNAP) includes

 federal funding drawdown of $5.6 million monthly, and TANF includes approximately $16 million

 per month in critical service federal funding.




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        12.     Based on the text of the OMB memorandum, there is a significant risk that CDHS

 will not receive those funds, and will therefore need to immediately begin assessing whether to

 immediately cancel or pause provision of important state services.

        13.     The OMB memorandum contemplates that the anticipated pause may last several

 weeks or longer. The memorandum simply orders agencies to submit information to OMB by

 February 10, 2025, but provides no guidance regarding when state funding will be un-paused.

        14.     A significant delay in federal funding will dramatically impact the health, welfare,

 and economic conditions of Colorado and its populace. While Colorado may ultimately succeed

 in providing sufficient cash-flow to overcome a pause of a few days in funding, a pause may result

 in the cancellation of benefits and supportive programs to Colorados, including food assistance,

 certain family support services, and other federal assistance programs, directly and negatively

 impacting Colorado and its constituents.

        15.     A two-week freeze in federal funding would result in a loss of approximately $41

 million in federal funds for CDHS alone.

        16.     Beyond ambiguity around continuation of funding, a two-week loss of funds would

 result in the inability of Colorado to provide benefits to Coloradans in need of direct payments that

 support their ability to feed their families and heat their homes in the midst of winter. County child

 welfare agencies could become responsible for using local tax dollars to replace the loss of federal

 dollars that support foster care payments and adoption assistance. The impact to SNAP alone

 extends to hundreds of thousands of families. The federal funding freeze covers the first 10 days

 of the month, when SNAP issuances occur. This means that approximately 330,000 households

 and 618,000 people would not have access to the benefits that keep themselves and their families




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 fed. Even temporary food insecurity leads to significant negative impacts on health and mental

 health, especially for children.

         17.     Beyond economic assistance, there are heavy implications for behavioral health

 programming. Within CDHS, the Behavioral Health Administration receives $88 million annually

 to support treatment of substance use disorders, or about $7.3 million per month. Loss of any part

 of these funds will result in a decline in available services provided in the community.

         18.    Because Colorado operates on a “letter of credit” mechanism for several programs,

 including Title IV-E, there is an immediate impact on practice should Colorado begin spending

 against previously promised funds that do not materialize.

         19.    County funding would be reduced by 50% for the period of time funds are frozen,

 which will require counties to reduce their budgets, including caseworker staff, accordingly.

 While their responsibilities to accept, triage, assess for abuse and neglect, assess for safety and risk

 of children, safety plan accordingly, and, if appropriate, ensure and fund out of home placements

 because safety cannot be addressed do NOT decrease whatsoever per Colorado law, the

 corresponding doubling of activity might undermine a child's right to safety and a family's right

 for a preserved, supported family when they need help and qualify, federally, for such assistance.

 I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge.

 Executed this 28th day of January, 2025, in Denver, CO.


                                                    /s/ Michelle Barnes
                                                    Michelle Barnes
                                                    Executive Director
                                                    Colorado Department of Human Services




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               DECLARATION OF MARIA DE CAMBRA IN SUPPORT OF

       THE STATE OF COLORADO’S COMPLAINT FOR DECLARATORY AND

                                     INJUNCTIVE RELIEF



 I, Maria De Cambra, do hereby declare and state as follows:



    1. I am the current Executive Director of the Colorado Department of Local Affairs

        (“DOLA”). I have served in this role since December 4, 2023.

    2. This declaration is submitted in support of the State’s Motion for a Temporary

        Restraining Order and Declaratory Relief in the above captioned matter.

    3. The statements made in this Declaration are based on knowledge acquired by me in the

        performance of my official duties and in conjunction with my review of information and

        records gathered by my staff.

    4. I am providing this declaration to explain certain impacts of the memorandum

        “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance Programs,”

        Matthew J. Vaeth, Acting Director of the Office of Management and Budget (January 28,

        2025) (“OMB Memo”), which pauses all activities related to obligation or disbursement

        of all Federal financial assistance, and other relevant agency activities that may be

        implicated by certain executive orders, on the State of Colorado.

    5. On January 27, 2025, the Office of Management and Budget (OMB) within the Executive

        Office of the President issued a Memorandum for Heads of Executive Departments and

        Agencies (“OMB Memo”). The OMB Memo pertained to the subject of “Temporary

        Pause of Agency Grant, Loan, and Other Financial Assistance Programs.” The OMB
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       Memo purports to “temporarily pause all activities” related to disbursement of federal

       funds by January 28, 2025.

    6. As of noon on January 28, 2025, the OMB Memo has had crippling effects on the

       operations of the State of Colorado, including but not limited cessation of disbursement

       of funds essential to DOLA and critical state operations supporting local governments

       through our Department’s grant programs and robust technical assistance to encourage

       innovative solutions to the most pressing challenges faced by our communities, including

       a home for every Colorado budget, key infrastructure upgrades and improvements,

       disaster recovery, enhanced public safety and sound land use planning and community

       development.

    7. Specifically, Colorado currently receives more than $11 billion in annual federal funding,

       including $323 million in DOLA funding, as well as funding for education, highway

       safety, human services, public health and the environment, and labor and employment.

       This impact will be crippling to the short and long-term health and wellbeing of the

       people in our state who we are committed to serve.

    8. As of this morning, January 28, 2025, DOLA learned that the Payment Management

       Services is inaccessible, which created delays in accessing grant payments. This creates

       an impediment for DOLA’s reimbursement of $1,697,015 for the Community Services

       Block Grant (CSBG) program to local communities. These grants are critical to

       Coloradans as it provides essential funding to local organizations that help individuals

       and families achieve self-sufficiency. By addressing poverty-related challenges such as

       housing instability, access to education, and employment, CSBG grants empower

       communities to improve overall well-being and economic stability.
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    9. Also, DOLA is gravely concerned about the impact of any delay in federal funds related

       to the following programs: 811 vouchers; Homeless Emergency Solutions Grants (ESG),

       Emergency Solutions Grants CARES Act (ESG-CV), Housing Opportunities for Persons

       with AIDS (HOPWA), Housing Trust Fund, and the HOME Investment Partnerships

       Program (HOME).

           a. Section 811 program provides rental subsidies to assist over 60 families in

              Colorado's very low income people with significant and long-term disabilities so

              that they may live independently in the community by providing affordable

              housing linked with voluntary services and support. Currently, DOLA has

              requested approximately $323,000 in voucher reimbursements. Each month

              DOLA anticipates approximately $115,000 needed in future reimbursements.

              Delayed of these reimbursements means that DOLA would need to identify funds

              to cover this program in a tight state budget year.

           b. The Emergency Solutions Grant (ESG) and ESG Coronavirus (CV) is the first

              step in a continuum of assistance to prevent homelessness and enable individuals

              and families experiencing or at risk of homelessness to move toward permanent

              housing by providing shelter operations, street outreach, homeless prevention &

              rapid rehousing, HMIS operations. Currently, DOLA has requested approximately

              $366,000 in draw downs on the grants. DOLA anticipates drawing each of the

              entire grant agreements. This program supports over 30,000 Coloradans a year

              and not receiving this funds would be detrimental.

           c. The Housing Opportunities for Persons With AIDS (HOPWA) Program is the

              only Federal program dedicated to the housing needs of people living with
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              HIV/AIDS, and under this program, HUD makes grants to local communities,

              States, and nonprofit organizations for projects that benefit low-income persons

              living with HIV/AIDS and their families. Currently, DOLA has requested

              approximately $17,000 in draw downs on the grants. DOLA anticipates drawing

              down each of the entire grant agreements.

           d. The Housing Trust Fund (HTF) increases and preserves the supply of decent, safe,

              and sanitary affordable housing for extremely low-income households, those

              earning at or below 30% of the area median income (AMI). Currently, DOLA has

              requested approximately $603,000. DOLA anticipates drawing each of the entire

              grant agreements. On February 11, 2025, DOLA was going to present for

              $1,200,000 in an affordable housing project which would have resulted in 40

              units. This program funds approximately 200 rental units annually.

           e. The Home Investment Partnership Program (HOME) provides competitive

              funding to local government, non-profit and private developers. The purpose of

              the HOME Program is to address a wide range of activities that build, buy, and/or

              rehabilitate affordable housing for rent or ownership or provide direct rental

              assistance to low-income people. On February 11, 2025, DOLA will present to

              the State Housing Board for $2,650,000 in affordable housing projects which

              would have resulted in 152 units. If DOLA does not receive this reimbursement,

              DOLA will have to identify the funds in a tight state budget year.

    10. The OMB Memo immediately calls into question the availability of funds necessary to

       support DOLA’s mission to strengthen local governments and fund critical operations to

       create opportunities for every Coloradan to have a safe and affordable place to call home.
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    11. First, the uncertainty caused by the OMB Memo and anticipated funding pause creates

       significant risk for Colorado and will have an immediate detrimental impact on DOLA’s

       ability to provide programs and services to its constituents and creates a devastating level

       of uncertainty in the ability for our state’s most vulnerable populations to have their most

       basic needs met.

    12. Without knowing whether and when federal dollars will be reimbursed on

       reimbursement-based grants, for instance, DOLA may not be able to outlay those funds,

       causing immediate pause or termination of government services in some sectors.

    13. Colorado saw a 51% increase in the number of people experiencing homelessness in our

       state, from 35,000 people in Fiscal Year 2020 to over 53,000 people in Fiscal Year 2024.

       Statewide, eviction filings have increased 91.9% from 2021-2024. The number of

       apartments with rents under $1,000 dropped to a quarter of their former supply in just

       over a decade. 45% (329,000) of Colorado renters are cost-burdened. Federal support is

       critical to support the most vulnerable in our state.


    14. As of the morning of January 28, 2025, DOLA has identified $4,245,043.86 in drawdown

       payments on January 31, 2025. Based on the text of the OMB memorandum, there is a

       significant risk that it will not receive those funds, and will therefore need to immediately

       begin assessing whether to immediately cancel or pause provision of important DOLA

       services.

    15. The OMB memorandum contemplates that the anticipated pause may last several weeks

       or longer. The memorandum simply orders agencies to submit information to OMB by

       February 10, 2025, but provides no guidance regarding when DOLA funding will be un-

       paused.
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    16. A significant delay in federal funding will dramatically impact the health, welfare, and

        housing conditions of Colorado and its populace. While Colorado may ultimately succeed

        in providing sufficient cash-flow to overcome a pause of a few days in funding, a

        significant pause will result in cancellation of federally funded grant programs, directly

        and negatively impacting DOLA and local communities across the state.

    17. The loss of critical funding will prevent DOLA from providing start-up loans to help

        Coloradans with the purchase of their first home and essential housing assistance, and

        preserving and building new affordable housing for seniors, teachers, fire fighters, and

        other critical segments of Colorado’s population and workforce.


 I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge.


 Executed this 28th day of January, 2025, in Denver, Colorado.




                                                       ___________________________

                                                       MARIA DE CAMBRA

                                                       Executive Director,

                                                       Colorado Department of Local Affairs
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                DECLARATION OF MARK FERRANDINO IN SUPPORT OF

        THE STATE OF COLORADO’S COMPLAINT FOR DECLARATORY AND

                                      INJUNCTIVE RELIEF


  I, Mark Ferrandino, declare and state as follows:


1. I am the current Director of the Office of State Planning and Budgeting (OSPB) for the State of

   Colorado. I have served in this role since July 24, 2023.

2. The statements made in this Declaration are based on knowledge acquired by me in the

   performance of my official duties and in conjunction with facts made known to me from state

   government agencies based on my role as the Director of OSPB.

3. I am providing this declaration to explain certain impacts of the memorandum “Temporary

   Pause of Agency Grant, Loan, and Other Financial Assistance Programs,” Matthew J. Vaeth,

   Acting Director of the Office of Management and Budget (January 28, 2025) (“OMB Memo”),

   which pauses all activities related to obligation or disbursement of all Federal financial

   assistance, and other relevant agency activities that may be implicated by certain federal

   executive orders, on the State of Colorado.

4. As of noon on January 28, 2025, the memo has had crippling effects on the operations of the

   State of Colorado, including but not limited to cessation of disbursement of funds essential to

   critical state operations supporting healthcare, education, highway safety, human services,

   public health and environment, and labor and employment.

5. Specifically, Colorado currently receives more than $11 billion in annual federal funding,

   including $9 billion in Medicaid funding, as well as funding for education, highway safety,

   human services, public health and the environment, and labor and employment.

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6. The OMB memo immediately calls into question the availability of funds necessary to fund

   critical state operations such as healthcare, emergency relief, highway safety, and food safety

   for minor children and vulnerable adults, among other things.

7. The OMB’s ongoing uncertainty will have significant immediate and long-term impacts on

   Colorado's ability to deliver necessary services to its constituents.

8. The uncertainty caused by the OMB memo and anticipated funding pause creates significant

   risk for Colorado and will have an immediate detrimental impact on its ability to provide

   services to its constituents. Without knowing whether and when federal dollars will be

   reimbursed on reimbursement-based grants, for instance, state agencies may not be able to

   outlay those funds, causing immediate pause or termination of government services in some

   sectors. By way of example, the amount of funds at risk is remarkable. The Colorado

   Department of Transportation has $860 million dollars at risk. The Colorado Department of

   Public Health and Environment has $325 million dollars at risk. The Colorado Department of

   Health and Human Services has $616 million dollars at risk. These are just three examples of

   state agencies that provide critical services to Colorado, with impact to life and health, that

   cannot afford the uncertainty anticipated in the OMB Memo.

9. The uncertainty of when, and even whether, federally obligated payments will be disbursed

   puts the state in an impossible situation with regard to its responsibility towards subrecipients

   carrying out state-contracted work that is ultimately federally funded. The state has to either

   take on financial risk to continue paying subrecipients while federal payments are suspended -

   an option that is constrained by limited state resources - or else reduce this financial risk by

   ordering subrecipients to stop work, which creates legal risks for the state with regard to their

   contractual obligations towards these entities.


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10. Colorado typically receives nearly $1.2 billion in drawdown payments on average each month.

   Based on the text of the OMB memorandum, there is a significant risk that it will not receive

   those funds, and will therefore need to immediately begin assessing whether to immediately

   cancel or pause provision of important state services, including the provision of medical care,

   infrastructure projects, childcare, and food assistance

11. The OMB memorandum contemplates that the anticipated pause may last several weeks or

   longer. The memorandum simply orders agencies to submit information to OMB by February

   10, 2025, but provides no guidance regarding when state funding will be un-paused.

12. A significant delay in federal funding will dramatically impact the health, welfare, and

   economic conditions of Colorado and its populace. While Colorado may ultimately succeed in

   providing sufficient cash-flow to overcome a pause of a few days in funding, a significant

   pause of more than a week will cause the State to take dramatic actions to uphold our

   contractual commitments and remain financially solvent.

13. A pause in funding for legal obligations will cause great harm to Colorado’s financial portfolio

   by forcing us to sell financial assets at a substantial loss in order to meet these existing legal

   obligations that rely upon signed agreements with the federal government


  I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge.




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 Executed this 28th day of January, 2025, in Denver, CO.


 /s/




 Director of the Office of State Budget and Planning




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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


   STATE OF NEW YORK, et al.,
                       Plaintiffs,
                                                     Civil Action No. 1:25-cv-XXX
                v.                                   Judge [xxx]


   DONALD TRUMP, et al.,

                     Defendants.



                          Declaration of The Honorable Colleen C. Davis

    I, Colleen C. Davis, hereby declare:

 1. I am the STATE TREASURER of DELAWARE, a position I have held since 2019. As

    STATE TREASURER, I have oversight and custody of all money, investments and financial

    assets belonging to the State of Delaware. My office has the additional responsibility of

    administering moneys received from federal grants, per Title 29, § 2711 of Delaware Code.

                                                                           , and I am a member of

    the Delaware Economic and Financial Advisory Council, which assists the State in

    forecasting its annual operating budget and financing critical infrastructure initiatives

    throughout Delaware. In my capacity as State Treasurer, I also serve on the Cash

    Management Policy Board, which manages a cash portfolio of approximately $5.7 billion.

 2. As the STATE TREASURER, I have personal knowledge of the matters set forth below, or

    have knowledge of the matters based on my review of information and records gathered by

    my staff.



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 3. I am providing this declaration to explain certain impacts on the State of Delaware of the



                  issued by Matthew J. Vaeth, Acting Director of the Office of Management and

      Budget (January 27                            , which pauses all activities related to obligation

      or disbursement of all Federal financial assistance, and other relevant agency activities that

      may be implicated by certain executive orders.

 4. The office                                   s mission is to create value for the citizens of

      Delaware by fostering a culture of financial excellence throughout state government,

      ensuring prudent stewardship of state tax dollars, and protect

 5. According to the U.S. Department of the Treasury, Bureau of the Fiscal Service, in Federal

      Fiscal Year 2024, the State of Delaware received approximately $5.2 billion in federal

      funding (not including Social Security).

 6. In

      billion.

 7. The State of Delaware relies on federal funding as an integral component of its annual budget

      to meet critical obligations. These funds are not only necessary to ensure the efficient

      operation of essential services, but also to maintain the economic stability of our state.

      Federal funding supports key government programs such as public education, healthcare,

      infrastructure projects, public safety initiatives, and social welfare programs for vulnerable

      populations.

 8.

      resources, including on the approximately 1.1 million Delawareans that rely on these

      resources every day. Delaware has structured its fiscal operations on the expectation of



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      receiving these funds, as they have been regularly appropriated and disbursed historically.

      Without these funds, Delaware risks severe disruptions to programs that directly impact the

      lives of its residents, especially those in disadvantaged and underserved communities.

 9.

      services. For example, according to the U.S. Department of the Treasury, Bureau of the

      Fiscal Service, in Federal Fiscal Year 2024:

             Delaware received $261,786,552 in federal funding from the U.S. Department of

             Education. Of that amount, more than $51 million was utilized to support the

             National School Lunch Program in order to provide nutritious lunch service to

             Delaware learners, and another $10.8 million was utilized for the Supporting

             Effective Instruction Grant to increase student academic achievement and improve

             the quality and effectiveness of teachers, principals, and school leaders. These funds

             are critical for public schools, particularly for programs that support low-income

             students, special education, and technological advancements. A funding pause will

             jeopardize these initiatives, leaving schools underfunded and students underserved.

             Delaware received $2,737,661,971 in federal funding from the U.S. Department of

             Health and Social Services. Of that amount, more than $191 million was awarded for



             awarded for

             healthcare programs will face immediate challenges, potentially resulting in reduced

             access to care for thousands of residents, including children, the elderly, and

             individuals with disabilities.




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              Delaware received $363,606,388 in federal funding from the U.S. Department of

              Transportation. Of that amount, more than $290 million was utilized to support

              highway planning and construction. Major transportation and infrastructure projects

              that rely on federal funding will face delays, resulting in increased costs, missed

              deadlines, and negative impacts on economic development and job creation.

              Delaware received $92,407,092 in federal funding from the U.S. Department of

              Public Safety. Of that amount, more than $24 million was utilized to support the

              FEMA Disaster Grants      Public Assistance program, which assists Delaware in

              responding to and recovering from the devastating effects of disasters. Another $4.3

              million was awarded to Delaware under the Homeland Security Grant Program,

              which assists Delaware in achieving core capabilities related to preventing, preparing

              for, protecting against, mitigating, and responding to acts of terrorism. Law

              enforcement grants and emergency response programs rely heavily on federal

              contributions. A funding pause could lead to gaps in staffing, equipment, and

              resources, compromising public safety.



 10.

       governments, nonprofits, and businesses that rely on federal grant disbursements.

       Furthermore, the uncertainty surrounding federal payments risks undermining investor



       bond rating.




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 11. The financial disruption caused by a funding pause has immediate and long-lasting

    implications. Should this temporary pause evolve into something more permanent, it will

    only be a matter of time until the state cannot fully absorb the financial shortfall, even with

    contingency funds. Ultimately

    constitutional duty to serve its residents effectively. Moreover, the harm caused to

    individuals and families relying on federally funded programs cannot be undone

    retroactively, making this situation a case of irreparable harm.




 I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge.



 Executed this 28 day of January, 2025, in Nashville, Tennessee.



                                                         /s/Colleen C. Davis

                                                       Hon. Colleen C. Davis
                                                       State Treasurer
                                                       State of Delaware




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                     DECLARATION OF MATTHEW J. GORZKOWICZ

        I, Matthew J. Gorzkowicz, hereby depose and state as follows:

        1.      I am the Secretary of Administration and Finance for the Commonwealth of

 Massachusetts. I have held that position since January 5, 2023. I make this declaration as a

 representative of the Massachusetts Executive Office for Administration and Finance (A&F), in

 part based on the business records of the Commonwealth of Massachusetts and in part based on

 my personal knowledge and experience. In my official capacity and based on my personal

 knowledge and other sources of information I have obtained and reviewed in that official

 capacity, I am familiar with, and if called upon to do so would be competent to testify to, the

 facts and circumstances set forth herein.

        2.      In state FY 2024, July 1, 2023, through June 30, 2024, the Commonwealth of

 Massachusetts received $21,793,723,938 in federal funding. This funding was used by

 Commonwealth entities for a variety of important state services and projects, including (without

 limitation) for highway and road improvement projects, housing vouchers, education,

 transportation, unemployment assistance, public health initiatives, efforts to remove lead pipes,

 and other important initiatives impacting the health, welfare, and economic stability of the

 Commonwealth.

        3.      On January 27, 2025, acting director of the Office of Management and Budget

 Matthew J. Vaeth issued M-25-13, a “Memorandum for the Heads of Executive Departments and

 Agencies.” That memorandum directed that all “Federal agencies must temporarily pause all

 activities related to obligation or disbursement of all Federal financial assistance, and other

 relevant agency activities that may be implicated by the executive orders, including, but not




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 limited to, financial assistance for foreign aid, nongovernmental organizations, DEI, woke

 gender ideology, and the green new deal.” M-25-13 at 2.

        4.     The memorandum further stated that the “temporary pause will become effective

 on January 28, 2025 at 5:00 PM.” Id.

        5.     On the morning of January 28, 2025, the Commonwealth attempted to log into the

 U.S. Department of Health and Human Services’ Payment Management System (PMS) but was

 unable to login. All login attempts since then have been unsuccessful. The Commonwealth

 outreached to the HHS Regional Office on January 28, 2025, but have not gotten a response

 informing us when access would be reinstated.

        6.     On January 24, 2025, the Commonwealth entered a $37.2m draw for federal

 financial participation of Medicaid and Children’s Health Insurance Program (CHIP)

 expenditures into the U.S. Department of Health and Human Services’ Payment Management

 System (PMS). The transaction was posted successfully through the Smartlink Medicaid draw

 system, but as of January 28, 2025, payment of the federal funds has not been received by the

 Commonwealth.

        7.     Federal funding streams are structured in a number of ways; importantly, not all

 federal grants are paid out immediately after the federal government awards the funds to a

 recipient. Many grants are structured on reimbursement or periodic payment models.

        8.     For reimbursement-structured grants, the Commonwealth outlays funds and then

 seeks reimbursement from the federal government at a predetermined rate for those funds.

        9.     For example, the amount of federally obligated funds for health services for state

 FY2025 is approximately $14,937,785,244.00.




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        10.      As another example, the amount of federally obligated funds state in education

 for state FY2025 is $2,190,511,000.00.

        11.     And as another example, the amount of federally obligated funds in Byrne JAG

 for state FY2025 is $6,452,429.00.

        12.     The amounts noted in paragraphs 9 through 11, inclusive, serve as examples of

 some of the known amounts that have been made available to the Commonwealth through a

 grant award, at minimum, or federal reimbursements for state FY 2025 as of this date. These

 amounts are best estimations and in a regular fiscal year are subject to fluctuations, due to

 common calculation adjustments, such as changes in projected utilization of programs, or

 subsequent authorization.

        13.     The OMB’s ongoing pause will have significant immediate and long-term impacts

 on the Commonwealth’s ability to deliver services to its constituents.

        14.     First, the uncertainty caused by the OMB memo and anticipated funding pause

 creates significant risk for the Commonwealth and will have an immediate detrimental impact on

 the Commonwealth’s ability to provide services to its constituents and meet the

 Commonwealth’s responsibilities to cover its own expenses which were undertaken under the

 expectation of reimbursement through valid grant agreements and other funding instruments.

        15.     Without knowing whether and when federal dollars will be reimbursed on

 reimbursement-based grants, for instance, state agencies may not be able to outlay those funds,

 causing immediate pause or termination of government services in some sectors.

        16.     Further, the Commonwealth employs about 2,991.1 full time equivalent workers

 through federal grants.




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        17.      Second, the Commonwealth is currently slated to receive drawdown payments

 through the term of this OMB memo, from multiple federal sources. Based on the text of the

 OMB memorandum, there is a significant risk that the Commonwealth will not receive those

 funds or that receipt of those funds will be materially delayed, and will therefore need to

 immediately begin assessing whether to modify the provision of important state services.

        18.      Third, the OMB memorandum contemplates that the anticipated pause may last

 several weeks or longer. The memorandum simply orders agencies to submit information to

 OMB by February 10, 2025, but provides no guidance regarding when state funding will be un-

 paused.

        19.      A significant delay in federal funding will dramatically impact the health, welfare,

 and economic conditions of the Commonwealth and its populace, resulting in modification of

 federally funded grant programs, directly and negatively impacting the Commonwealth and its

 constituents.




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 SIGNED UNDER THE PENALTIES OF PERJURY THIS 28th DAY OF JANUARY, 2025.


                                    Matthew J. Gorzkowicz
                                    Secretary of Administration and Finance for the
                                    Commonwealth of Massachusetts




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                  DECLARATION OF MICHAEL F. RICE, PH.D.
       I, Michael F. Rice, Ph.D., pursuant to 28 U.S.C. § 1746, hereby declare that

 the following is true and correct:


       1.     I am the Superintendent of Public Instruction within the Michigan

 Department of Education (MDE), a position I have held since 2019. As State

 Superintendent, I oversee the entire MDE, including the Division of Business,

 Health, and Library Services; the Division of Assessment, School Improvement, and

 Systems Support; and the Division of Education Excellence, Career and Technical

 Education, Special Education and Administrative Law.

       2.     As State Superintendent, I have personal knowledge of the matters set

 forth below or have knowledge of the matters based on my review of information

 and records gathered by my staff.

       3.     I provide this declaration to explain certain impacts on MDE, the

 federal programs overseen by MDE, and the education of Michigan children, of the

 Office of Management and Budget (OMB) memorandum titled “Memorandum for

 Heads of Executive Departments and Agencies,” issued on January 27, 2025, M-25-

 13, (the “OMB Memo”), which pauses “all Federal financial assistance” effective

 January 28, 2025, at 5:00 PM.

                        Michigan Department of Education

       4.     MDE is the state education agency (SEA) for the federal programs,

 including programs under the Individuals with Disabilities Education Act (IDEA),




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 Title I through IV of the Elementary and Secondary Education Act (ESEA), and the

 National School Lunch Act and Child Nutrition Act.

        5.    MDE is budgeted to receive more than $2.3 billion from the federal

 government in fiscal year 2025 which, among other things, funds more than half of

 MDE’s staff. Of the more than $2.3B that MDE receives, approximately $878

 million is for child nutrition programs, $488M is for special education through

 IDEA, $714M is for Title I-IV programs, and $248M is for other federal programs.

                             Impacts of the OMB Memo

        6.    While the exact contours of the OMB Memo are unknown, to the extent

 that the OMB Memo applies to all federal financial assistance that MDE receives,

 the OMB Memo will have a direct and adverse impact on the State of Michigan’s

 ability to operate the associated programs.

        7.    Federal funding accounts for approximately 9 percent of the State’s

 education funding and pays for more than half of MDE’s staff. If this funding is

 withheld, local school districts will have to determine cuts to federally funded

 programs, including for economically disadvantaged students, and MDE will be

 forced to consider reducing its staffing and the services that it provides. Such

 reductions in staff and/or services will affect MDE’s ability to assist local school

 districts in educating children and may reduce or delay subgrants of funds to local

 districts.




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       8.     The OMB Memo will also have a direct and adverse impact on the

 children of Michigan, who are the intended beneficiaries of the federal financial

 assistance that flows through these programs.

       9.     The reduction of funding will result in fewer funds flowing to local

 districts and will result in decreased resources to fund teachers and educational

 programming for students.

       10.    The reduction of funding could also have an adverse impact on the

 students who attend the Michigan School for the Deaf, a program operated directly

 by MDE. All students at the Michigan School for the Deaf have individualized

 education programs (IEPs) pursuant to the IDEA.

       11.    In addition, the OMB Memo has raised concerns among educators in

 Michigan that the ability to meet the educational needs of students could be

 adversely affected in the foreseeable future. Education leaders in Michigan may be

 forced to consider layoffs and reductions of services, given the specter of withholding

 of federal funds.



       I declare under penalty of perjury under the laws of the United States of

 America that the foregoing is true and correct.



 Dated: January 28, 2025
                                               ___________________________
                                               Michael F. Rice, Ph.D.
                                               State Superintendent
                                               Michigan Department of Education


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                    DECLARATION OF ELIZABETH HERTEL
       I, ELIZABETH HERTEL, pursuant to 28 U.S.C. § 1746, hereby declare that

 the following is true and correct:


       1.     I am the Director the Michigan Department of Health and Human

 Services (MDHHS).

       2.     Through my role, I have personal knowledge of the matters set forth

 below or have knowledge of the matters based on my review of information and

 records gathered by my staff.

       3.     I am providing this declaration to explain certain impacts on MDHHS,

 the federal programs overseen by MDHHS, and the health and welfare of

 Michigan’s residents, of the Office of Management and Budget (OMB) memorandum

 titled “memorandum for Heads of Executive Departments and Agencies,” issued on

 January 27, 2025, M-25-13, (the “OMB Memo”), which pauses “all Federal financial

 assistance” effective January 28, 2025, at 5:00 PM.

             Michigan Department of Health and Human Services

       4.     MDHHS receives $26.6 billion from the federal government each year,

 which accounts for approximately 71% of MDHHS’s budget.

       5.     For fiscal year 2025, MDHHS has been awarded approximately 400

 federal grants. The largest five grant programs that receive federal financial

 assistance include:




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  Program name           Associated Federal        FY 25 allocation
                         agency
  Medicaid               HHS/CMS                                    $19,860,169,100
  SNAP                   USDA/FNS                                    $3,238,231,400
  TANF                   HHS/ACF                                       $772,794,194
  CHIP                   HHS/CMS                                       $314,040,100
  Title IV-E Foster      HHS/ACF                                       $267,702,700
  Care and Adoption


                             Impacts of the OMB Memo

       6.     While the exact contours of the OMB Memo are unknown, to the extent

 the OMB Memo applies to all federal programs, funding through grants to the

 State, the OMB Memo will have a direct, immediate, and adverse impact on the

 State of Michigan’s ability to operate these programs, including Medicaid, Title IV-

 E, SNAP, TANF, etc. The OMB Memo will also have a direct, immediate, and

 adverse impact on the Michigan residents who are the intended beneficiaries of this

 federal financial assistance.



       I declare under penalty of perjury under the laws of the United States of

 America that the foregoing is true and correct.




 Dated: January 28, 2025
                                               ___________________________
                                               Elizabeth Hertel, Director
                                               Michigan Department of Health and
                                               Human Services



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            DECLARATION OF BEVERLY WALKER-GRIFFEA, PH.D.
       I, Beverly Walker-Griffea, Ph.D., pursuant to 28 U.S.C. § 1746, hereby

 declare that the following is true and correct:


       1.       I am the Director of the Michigan Department of Lifelong Education,

 Advancement and Potential (MiLEAP). In this role, I oversee the Office of Early

 Childhood Education, Office of Higher Education, and Office of Education

 Partnerships. MiLEAP’s mission is to establish and implement a statewide vision

 for lifelong education from preschool to postsecondary, including expanding

 equitable access to quality, affordable programs and services and improving

 outcomes for all Michiganders in early learning and care and higher education.

       2.       I have personal knowledge of the matters set forth below or have

 knowledge of the matters based on my review of information and records gathered

 by my staff.

       3.       I provide this declaration to explain certain impacts on MiLEAP, the

 federal programs overseen by MiLEAP, and the education of Michigan children,

 from the Office of Management and Budget’s (OMB) memorandum titled

 “Memorandum for Heads of Executive Departments and Agencies,” issued on

 January 27, 2025, M-25-13, (the “OMB Memo”), which pauses “all Federal financial

 assistance” effective January 28, 2025, at 5:00 PM.




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  Michigan Department of Lifelong Education, Advancement and Potential

       4.       MiLEAP is state agency that focuses on preparing children for

 kindergarten and helping more people earn a skill certificate or degree post-high

 school.

       5.       MiLEAP receives approximately $600 million from the federal

 government each year.

       6.       For fiscal year 2025, MiLEAP has been award the following federal

 financial assistance through grant programs:

            Program name                          Associated       FY 25
                                                  Federal agency   allocation
            Child Care Development Fund           ACF              ~$490M
            IDEA Part B, 619                      US Ed            ~$15M
            IDEA Part C                           US Ed            ~$15M
            Head Start Collaboration Office       US Ed            ~$225k
            21st Century Community Learning       US Ed            ~$40M
            Centers
            Preschool Development Grant           ACF              ~$9M



                                 Impacts of the OMB Memo

       7.       While the exact contours of the OMB Memo are unknown, to the extent

 the OMB Memo applies to all federal financial assistance that MiLEAP receives, the

 OMB Memo will have a direct, immediate, and adverse impact on the State of

 Michigan’s ability to operate the associated programs. The OMB Memo will also

 have a direct, immediate, and adverse impact on the Michigan’s children who are

 the intended beneficiaries of the federal financial assistance that flows through

 these programs.




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       8.     For example, the Child Development and Care funds are drawn down

 weekly from the federal government, with the next expected drawn down scheduled

 for this Friday, January 31, 2025. These funds are quickly distributed to childcare

 providers across Michigan that provide services for approximately 42,000 children

 statewide. If the OMB Memo prohibits the release for Child Development and Care

 funds this Friday, January 31,2025, MiLEAP will be unable to send out the funds to

 the care providers, immediately impacting the care providers’ ability to meet payroll

 and provide services for the 42,000 children that they serve.

       9.     Some MiLEAP staff are paid with a majority of Child Development and

 Care block grant funds, and a cessation of those funds will affect funding for those

 positions.

       10.    In addition, MiLEAP heard from advocates and providers of Michigan’s

 Head Start program. The federal funds for this program flow directly to the

 providers, not through MiLEAP. However, providers—who serve approximately

 30,000 children in Michigan—have advised MiLEAP that if Head Start funding

 does not continue to flow to these providers, it will immediately impact their

 operations, causing the necessary reduction of staff, reduction of services for

 children, and potential closure (permanent or temporary depending on the

 provider).

       11.    There are also other federally-funded programs administered by

 MiLEAP that will be immediately negatively affected by a pause of federal funding,




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 including the Preschool Development Grant and early childhood special education

 under the IDEA.



       I declare under penalty of perjury under the laws of the United States of

 America that the foregoing is true and correct.



 Dated: January 28, 2025                       ___________________________
                                               Beverly Walker-Griffea, Ph.D.
                                               Director, MiLEAP




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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND


   STATE OF NEW YORK, et al.,
                    Plaintiffs,

             v.


   DONALD TRUMP, et al.,

                  Defendants.



                                  Declaration of Ahna Minge

    I, Ahna Minge, hereby declare:

 1. I am the Assistant Commissioner for Budget Services and State Budget Director at Minnesota

    Management and Budget (MMB), a position I have held since 2021. As Assistant

    Commissioner for Budget Services and State Budget Director, I oversee a division that works



    agencies on fiscal policy, program review, performance management and developing and

    monitoring state agency budgets.

 2. As the Assistant Commissioner for Budget Services and State Budget Direct at MMB, I have

    personal knowledge of the matters set forth below, or have knowledge of the matters based on

    my review of information and records gathered by my staff.

 3. I am providing this declaration to explain certain impacts of the memorandum

                                                                             Matthew J. Vaeth,

                                                                                               ,

    which pauses all activities related to obligation or disbursement of all Federal financial

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    assistance, and other relevant agency activities that may be implicated by certain executive

    orders, on Minnesota.

 4. In Minnesota, MMB is responsible for managing state finances, payroll and human resources,

    and providing systems for daily business operations and information access and analysis for

    state agencies across Minnesota state government. MMB is a central service agency, serving



    50,000 state employees.

 5. The OMB Memo threatens federal funding, and specifically federal grants, for multiple state

    agencies in Minnesota and will have an immediate impact on significant programs

    administrated by Minnesota state agencies in FY2025. I highlight just a few of the noteworthy

    federal grants implicated by the OMB Memo:

     Federal        Federal Award         Category          Minnesota            Amount in
      Grant             Name                                 Agency              Thousands
    Assistance
     Listing
     Number
      (ALN)
  Federal          Federal Highway Roads                Transportation        $817,718
  Highway          Adminsitration
  Administration
  (ALN 20.205)
  Federal          Airport             Airports         Transportation        $509,143
  Aviation         Improvement
  Administration   Program
  (ALN 20.106)
  Federal          Airport             Airports         Transportation        $364,273
  Aviation         Infrastructure
  Administration   Grants
  (ALN 20.106)
  Federal          Federal      Aid Roads               Transportation        $347,580
  Highway          Highway Program
  Administration
  (ALN 20.205)




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  HUD (ALN Section          8           Housing           Housing Finance      $266,000
  14.327)      Contract
               Administration
  Agriculture  Food & Nutrition         School Meals      Education            $244,195
  (ALN 10.555) Services-Lunch
  Education    Special Education        Special           Education            $180,000
  (ALN 84.027) Children       with      Education
               Disabilities
  Education    Title 1                Funding for Education                    $170,000
  84.010                              low income
                                      school
                                      districts
  Federal         Federal        Aid Roads          Transportation             $153,991
  Highway         Highway Program
  Administration - Local and County
  20.205          Grants
  U.S.            Low        Income Heating         Commerce                   $148,697
  Department of Energy Assistance Assistance
  Health      and Program
  Human
  Services
  93.568
  HHS 93.563      Child     Support County          Human Services             $135,300
                  Enforcement         funding child
                                      support
  USDA 10.557 Women,          Infants Women,        Health                     $80,000
                  and Children - Infants, and
                  Food                Children
  Agriculture     Food & Nutrition School           Education                  $79,107
  10.553          Services-Breakfast breakfast


 6. State agencies in Minnesota have currently budgeted for $22.6 billion in federal revenue in

    FY2025. The OMB Memo implicates Based on current estimates, the total amount of federal

    grants implicated by the OMB Memo in Minnesota is $22.6 billion in FY2025. That equates

    to roughly $1.9 billion dollars per month in FY 2025.

 7. In addition, the Minnesota Department of Human Services (MDHS) is currently locked out

    of Medicaid funding. My understanding is that MDHS was going to submit a $408 million

    draw request today but could not access the system.


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 I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge.



 Executed this 28 day of January, 2025, in Minneapolis, Minnesota, Hennepin County.



                                                       _______________________________

                                                       Ahma Minge
                                                       Assistant Commissioner
                                                       Minnesota Management Budget




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                        DECLARATION OF ADRIENNE KREIPKE


        I, Adrienne Kreipke, pursuant to 28 U.S.C. § 1746, hereby declare that the following is

 true and correct:

        1.      I am the Chief Financial and Operations Officer for the Department of

 Environmental Protection (“NJDEP”) located in the State of New Jersey. I am a member of

 NJDEP’s executive leadership reporting directly to the Department’s chief executive (the State’s

 Commissioner of Environmental Protection) and responsible for overseeing the Department’s

 Management and Budget offices. My educational background includes a Master’s degree in Public

 Policy. I have been employed by the Department since July 2013. Prior to my employment with

 the Department, I was Assistant Director at the New Jersey Office of Management and Budget,

 Department of Treasury.

        2.      I submit this Declaration to explain certain impacts on the State of New Jersey

 resulting from the directive given to all Federal agencies in the Office of Management and

 Budget’s January 27, 2025 memo to “temporarily pause all activities related to obligation or

 disbursement of all Federal financial assistance, and other relevant agency activities that may be

 implicated by [certain] executive orders” (“OMB Memo”). I have compiled the information in the

 statements set forth below through personal knowledge, through NJDEP personnel who have

 assisted me in gathering this information from our agency, and on the basis of documents that have

 been provided to and/or reviewed by me. I have also familiarized myself with the OMB Memo in

 order to understand its immediate impact on NJDEP.

        3.      NJDEP’s mission is to improve and protect public health and the environment we

 share. NJDEP uses the best available science to guide the conservation of natural and historic

 resources, ensure a stable climate and resilient communities, and secure clean and healthy air,
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 water and lands throughout New Jersey. Committed to sustainable economic growth, NJDEP

 invests in communities and infrastructure, provides quality open and recreational spaces for

 residents and visitors, enforces environmental laws, and furthers the promise of a clean and healthy

 environment for present and future generations.

        4.      As part of the State’s yearly budget process, the New Jersey Legislature

 appropriates expected and anticipated federal funding to individual agencies. The expected and

 anticipated federal funding amounts are calculated based on a number of factors, including, for

 example, whether the federal funding is based on a multi-year grant that guarantees specific

 amounts of annual funding, a federal funding formula that allows the State to predict its annual

 receipts, or some other funding mechanism.

        5.      According to the State’s Fiscal Year 2025 Appropriations Act, P.L. 2024, c. 22, the

 New Jersey Legislature appropriated a total of $1,083,452,000 in expected and anticipated federal

 funding to NJDEP. In addition, NJDEP has been the recipient of approximately 200 prior year

 federal grant awards that have not yet been fully drawn down, which total over $500 million.

        6.      The aforementioned appropriations are allocated to various NJDEP programs and

 services vital to the protection of public health, the maintenance and improvement of critical

 infrastructure, and the pursuit of economic development imperatives throughout our State. The

 affected NJDEP programs and services include, but are not limited to, Safe Drinking Water Supply

 services; Public and Industrial Wastewater services; Monitoring and Resource Management; Solid

 and Hazardous Waste Management; Contaminated Site Remediation and Redevelopment;

 Radiation Protection; and Air Pollution Control.

        7.      The overwhelming majority of the aforementioned programs are creatures of

 longstanding federal environmental laws, the implementation of which have been assumed by the
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 State of New Jersey and are enforced by NJDEP pursuant to agreements with the U.S.

 Environmental Protection (“USEPA”) and other relevant federal agencies. NJDEP’s federal

 counterparts have committed the aforementioned expected and anticipated federal funding to

 NJDEP pursuant to these agreements.

        8.      On Monday, January 27, 2025, the USEPA announced that “Under @POTUS’

 [Donald J. Trump] leadership, EPA is committed to protecting clean air, land, and water, while

 being good stewards of taxpayer dollars, respecting the rule of law, and advancing cooperative

 federalism.” (See https://x.com/EPA/status/1884033463906672754). State implementation of the

 aforementioned programs is necessary to advance this commitment, and NJDEP is dependent upon

 the expected and anticipated federal funding committed to the State for program implementation.

        9.      The OMB Memo will have a profound and disabling impact on NJDEP’s ability to

 implement and enforce federal environmental laws pursuant to its agreements with USEPA and

 other relevant federal agencies. Pursuant to its agreements, NJDEP uses federal funds to advance

 programs and services vital to the protection of public health, the maintenance and improvement

 of critical infrastructure, and the pursuit of economic development imperatives throughout our

 State. For example, to advance USEPA’s commitment to clean water, NJDEP uses federal funding

 to monitor and ensure that community water systems deliver reliably safe and clean drinking water

 to residents throughout New Jersey. NJDEP utilizes the longstanding Clean and Drinking Water

 State Revolving Funds capitalized through USEPA grants to improve aging infrastructure that is

 vital to the provision of clean drinking water and wastewater services necessary for every new and

 existing home and business. As another example, NJDEP utilizes federal funding to facilitate

 coastal zone management, which includes supporting shore protection and beach replenishment
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 projects upon which coastal communities, residents, and the entire Jersey Shore tourism economy

 are critically dependent.

        10.     The freeze on federal disbursements directed by the OMB Memo will cause

 significant disruption to NJDEP operations. NJDEP must take extraordinary measures to address

 and mitigate the loss of funding and must devote substantial time and resources to planning for the

 severe operational impacts caused by the federal funding freeze.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.


 Executed this 28th day of January, 2025.             _________________________________
                                                      Adrienne Kreipke
                                                      Chief Financial and Operations Officer
                                                      State of New Jersey
                                                      Department of Environmental Protection
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                       DECLARATION OF EDWARD D. WENGRYN
        I, Ed Wengryn, pursuant to 28 U.S.C. § 1746, hereby declare that the following is true
 and correct:

 1. I am the Secretary of Agriculture at the New Jersey Department of Agriculture located in

    New Jersey. My educational background includes an Ornamental Horticulture, B.S., from

    Delaware Valley University. I have been employed as Secretary of Agriculture since March

    25, 2024.

 2. I submit this Declaration to explain certain impacts on the State of New Jersey resulting from

    the directive given to all Federal agencies in the Office of Management and Budget’s January

    27, 2025 memo to “temporarily pause all activities related to obligation or disbursement of

    all Federal financial assistance, and other relevant agency activities that may be implicated

    by [certain] executive orders” (“OMB Memo”). I have compiled the information in the

    statements set forth below by discussing these issues with my staff and reviewing our active

    federal programs. I have also familiarized myself with the OMB Memo in order to

    understand its immediate impact on NJDA.

 3. NJDA promotes, protects and serves New Jersey’s agricultural interests. In addition to

    programs NJDA offers to support production agriculture, NJDA also manages programs that:

    feed schoolchildren; distribute surplus federal foods to soup kitchens and pantries that serve

    needy citizens; conserve precious soil and water resources; protect farmland from

    development and preserve it for future agricultural use; expand export markets for fresh and

    processed agricultural products, and promote our commercial fishing industry; and

    administer programs regarding agricultural, food, and natural resource education.

 4. As part of the yearly budget process, the New Jersey Legislature appropriates expected and

    anticipated federal funding to individual agencies. The expected and anticipated federal
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    funding amounts are calculated based on a number of factors, including, for example,

    whether the federal funding is based on a multi-year grant that guarantees specific amounts

    of annual funding, a federal funding formula that allows the State to predict its annual

    receipts, or some other funding mechanism.

 5. According to the Fiscal Year 2025 Appropriations Act, P.L. 2024, c. 22, the New Jersey

    Legislature appropriated a total of $1,262,031,000 in expected and anticipated federal

    funding to the NJDA. These appropriations are allocated to various NJDA programs and

    services, including but not limited to Animal and Disease Control; Plant Pest and Disease

    Control; and Food and Nutrition Services.

 6. The OMB Memo will have a profound and disabling impact on NJDA. Our agency uses

    federal funding to operate critical food security programs that feed people who are in need, as

    well as infrastructure cost share and grant programs that farmers are depending on to

    maintain the economic viability of their farm businesses. For example, we are deeply

    concerned about any delays or loss of funding for our Local Food Purchase Assistance

    program. This program makes funds available to food banks who feed people who are in

    need of financial and economic assistance. There is additional benefit to the agriculture

    industry in our state, as the food banks purchase directly from New Jersey farmers. We also

    worry about the availability of funds for our Resilient Food Systems Infrastructure (“RFSI”)

    program, in which we provide cost-share grants to farmers, which they use to improve the

    operational efficiency of their farms so they can continue providing food to the people of

    New Jersey.

 7. Any pause on the RFSI program in particular poses significant challenges due to the fact that

    the RFSI grants have already been awarded, and NJDA is in the process of executing
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    agreements with each of the recipients. If the funding is paused, recipients may hold up their

    end of the cost-share grant, laying out their own capital to begin their projects, but the federal

    funding would not be available to meet the award that was agreed upon.

 8. The freeze on federal disbursements directed by the OMB Memo will cause significant

    disruption to NJDA operations. NJDA must take extraordinary measures to address and

    mitigate the lost of funding and must devote substantial time and resources to planning for

    the severe operational impacts caused by the federal funding freeze.

 I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

 Executed this __28th_ day of January, 2025, in Trenton, New Jersey.




                                               ___________________________
                                                     Edward D. Wengryn
                                                     Secretary
                                                     New Jersey Department of Agriculture
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                           DECLARATION OF SARAH ADELMAN

        I, Sarah Adelman, pursuant to 28 U.S.C. § 1746, hereby declare that the following is true
 and correct:

 1. I am the Commissioner of the New Jersey Department of Human Services (“DHS”). I have

    been employed as Commissioner since January 2021.

 2. I submit this Declaration to explain certain impacts on the State of New Jersey resulting from

    the directive given to all Federal agencies in the Office of Management and Budget’s January

    27, 2025 memo to “temporarily pause all activities related to obligation or disbursement of

    all Federal financial assistance, and other relevant agency activities that may be implicated

    by [certain] executive orders” (“OMB Memo”). I have compiled the information in the

    statements set forth below through personal knowledge, through DHS personnel who have

    assisted me in gathering this information from our various division, and on the basis of

    documents that have been provided to and/or reviewed by me. I have also familiarized

    myself with the OMB Memo in order to understand its immediate impact on DHS.

 3. DHS is New Jersey’s largest agency, serving approximately 2.1 million New Jersey

    residents. DHS serves many people in New Jersey including but not limited to older

    residents, individuals, and families with low incomes; people with developmental disabilities,

    or late-onset disabilities; people who are blind, visually impaired, deaf, hard of hearing, or

    deaf-blind; parents needing child care services, child support and/or healthcare for children;

    people who are dealing with addiction and mental health issues; and families facing

    catastrophic medical expenses for their children. Through DHS’s eight divisions, the agency

    provides numerous programs and services designed to give eligible individuals and families

    assistance with economic and health challenges. These programs include publicly funded
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    health insurance through NJ FamilyCare, which includes New Jersey’s Children’s Health

    Insurance Program, Medicaid, and Medicaid expansion populations.

 4. As part of the yearly budget process, the New Jersey Legislature appropriates expected and

    anticipated federal funding to individual agencies. The expected and anticipated federal

    funding amounts are calculated based on a number of factors, including, for example,

    whether the federal funding is based on a multi-year grant that guarantees specific amounts

    of annual funding, a federal funding formula that allows the State to predict its annual

    receipts, or some other funding mechanism.

 5. According to the Fiscal Year 2025 Appropriations Act, P.L. 2024, c. 22, the New Jersey

    Legislature appropriated a total of $ 17,658,444,000 in expected and anticipated federal

    funding to DHS. These appropriations are allocated to various DHS programs and services,

    including but not limited to Community Services; Addiction Services; Medical Services and

    Programs for the Aged; Disability Services; a number of Residential Centers that provide

    Residential and Habilitation Services; and Services for the Blind and Visually Impaired.

 6. On January 28, 2025, employees of various divisions within DHS reached out to their

    respective federal counterparts to discuss the intended scope of the OMB Memo. These

    divisions and their federal counterparts included: the Division of Medical Assistance and

    Health Services (State Medicaid division) contacted the Center for Medicare and Medicaid

    Services; the Division of Family Development contacted the Department of Agriculture Food

    and Nutrition Services; the Division of Aging Services contacted the Administration for

    Community Living; the Commission for the Blind and Visually impaired contacted the

    Rehabilitation Services Administration; the Division of Disability Services contacted the
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    Administration for Community Living; and the Office of New Americans contacted the

    Office of Refugee Resettlement.

 7. In response to each outreach, the respective federal counterparts indicated they could not

    provide any information at this time concerning the impact the OMB Memo will have on the

    various programs for which DHS receives federal financial assistance.

 8. A freeze on federal disbursements will have a profound and disabling impact on DHS.

    Specifically, DHS uses federal funding to operate critical programs, including but not limited

    to the Medicaid program.

 9. To administer the Medicaid program, at the beginning of each week, DHS’ Federal Funds

    Management Unit submits a large draw notification for the federal share of Medicaid

    program expenditures due from the United States Department of Health and Human Services

    (“HHS”). The notification is submitted to the Federal Payment Management team and is a

    requirement of any draw amount over $50 million. The notification advises HHS that DHS

    will be making the draw by the end of the week.

 10. On January 27, 2025, DHS submitted a large draw notification for $896 million.

 11. On January 27, 2025, DHS also submitted a smaller daily draw of $7.2 million to HHS.

    Smaller draws do not require a large draw notification and are generally paid shortly after

    submission.

 12. HHS did not process the $7.2 million draw and no explanation was provided.

 13. The $896 million large draw is scheduled for Friday, January 31, 2025. Earlier today, when a

    DHS official attempted to log in to HHS’ Payment Management Services system, the

    following message is displayed: “PAYMENT DELAYS: Due to Executive Orders regarding

    potentially unallowable grant payments, PMS is taking additional measures to process
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    payments. Reviews of applicable programs and payments will result in delays and/or

    rejections of payments.”

 14. DHS is currently unable to log into the system.

 15. The freeze on federal disbursements directed by the OMB Memo has and will cause

    significant disruption to DHS operations. DHS must take extraordinary measures to address

    and mitigate the loss of funding and must devote substantial time and resources to planning

    for the severe operational impacts caused by the federal funding freeze.

    I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

 Executed this 28th day of January 2025, in Trenton, New Jersey.



                                                       _________




                                                       ______________________

                                                       Sarah Adelman
                                                       Commissioner
                                                       New Jersey Department of Human Services
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                         DECLARATION OF KATHLEEN EHLING


        I, Kathleen Ehling, pursuant to 28 U.S.C. § 1746, hereby declare that the following is true
 and correct:

 1. I am the Assistant Commissioner for the Division of Educational Services within the New

    Jersey Department of Education (“NJDOE”), a position I have held since 2021. As Assistant

    Commissioner, I oversee the Offices of Special Education, Supplemental Educational

    Programs, Fiscal and Data Services, Student Support Services, Performance Management,

    and the Marie H. Katzenbach School for the Deaf. I also serve as the State Director of the

    Elementary and Secondary School Emergency Relief Funds (collectively “ESSER” “ESSER

    II” and “ARP ESSER”). I am responsible for overseeing implementation of the federal

    Every Student Succeeds Act, the federal Individuals with Disabilities Education Act

    (“IDEA”), the New Jersey Tiered Systems of Support, and the development and release of

    the annual School Performance Reports. Prior to holding this position, I served in various

    positions throughout my 20-year tenure with NJDOE including as the Director of the Office

    of Fiscal and Data Services, in which capacity I oversaw the administration of over $4 billion

    in federal and state grant funds for NJDOE. Prior to this role, I served as the Manager of the

    Bureau of Governance and Fiscal Support, Office of Special Education Policy and Procedure

    within NJDOE. In this capacity, I oversaw the implementation of administrative policy for

    the office, including development of regulations, model individualized education programs

    (“IEPs”), and the Parental Rights in Special Education booklet. I also oversaw the dispute

    resolution system, the complaint investigation process, the approval and monitoring of

    approved private schools for students with disabilities and clinics and agencies, the SEMI

    program, and the IDEA Part B grant process. Prior to assuming the role of Manager, I
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    worked as a Special Assistant to the Director of the Office of Special Education Programs, a

    Complaint Investigator, and a Mediator with the Office of Special Education.

 2. As Assistant Commissioner, I have personal knowledge of the matters set forth below, or I

    have knowledge of the matters below based on my review of information and information

    gathered by my staff or staff within the NJDOE.

 3. I submit this Declaration to explain certain impacts on the State of New Jersey resulting from

    the directive given to all Federal agencies in the Office of Management and Budget’s January

    27, 2025 memo to “temporarily pause all activities related to obligation or disbursement of

    all Federal financial assistance, and other relevant agency activities that may be implicated

    by [certain] executive orders” (“OMB Memo”). I have compiled the information in the

    statements set forth below through personal knowledge of the matters below, through

    NJDOE personnel who have assisted me in gathering this information from the U.S.

    Department of Education, and on the basis of documents that have been provided to and

    reviewed by me. I have also familiarized myself with the OMB Memo in order to understand

    its immediate impact on the NJDOE.

 4. NJDOE’s mission is to support schools, educators, and districts to ensure all of New Jersey’s

    1.4 million students have equitable access to high quality education and achieve academic

    excellence.

 5. In pursuit of this mission, the Division of Educational Services provides support and services

    to local education agencies (LEAs), educators, and children all across New Jersey, including

    but not limited to the Office of Special Education, which provides professional development,

    technical assistance, coaching, and resources to LEAs, educators, parents and other

    stakeholders across the state to improve outcomes for students with disabilities, ages three
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    through 21; the Office of Student Support Services, which supports the positive development

    of K-12 students, with a focus on health, behavior, school culture and climate, and social-

    emotional skills; and the Office of Supplemental Education Programs, which provides

    professional development, technical assistance, coaching, and resources to LEAs and

    educators to improve outcomes for economically disadvantaged students, multilingual

    learners, and other historically disadvantaged subgroups.

 6. As part of the yearly budget process, the New Jersey Legislature appropriates expected and

    anticipated federal funding to individual agencies. The expected and anticipated federal

    funding amounts are calculated based on a number of factors, including, for example,

    whether the federal funding is based on a multi-year grant that guarantees specific amounts

    of annual funding, a federal funding formula that allows the State to predict its annual

    receipts, or some other funding mechanism.

 7. According to the Fiscal Year 2025 Appropriations Act, P.L. 2024, c. 22, the New Jersey

    Legislature appropriated a total of $ 1,237,818,000 in expected and anticipated federal

    funding to the NJDOE. These appropriations are allocated to various NJDOE programs and

    services, including but not limited to Special Education services; the Marie H. Katzenbach

    School for the Deaf; Career Readiness and Technical Education programs; Bilingual

    Education services; Programs for Disadvantaged Youth; and Early Childhood Education

    programs.

 8. On January 28, 2025, several employees of the NJDOE reached out to federal Program

    Officers who provide guidance and serve as the federal points of contact for the grant

    programs to discuss the intended scope of the OMB Memo.
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 9. In one instance, the Program Officer indicated that they needed official clarification on

    whether the memo applies to federal grant program awards that have already been made or

    only to future awards.

 10. In all other correspondence, the federal Program Officers indicated they did not have further

    guidance to share at this time. NJDOE has also received no direct instruction or guidance

    from the United States Department of Education on the scope of the OMB Memo.

 11. A freeze on federal funding disbursements will have a profound and disabling impact on the

    NJDOE and local education agencies. Pursuant to the Uniform Grant Guidance, 2 CFR Part

    200, and the authorizing regulations for the implicated Federal grants, the NJDOE serves as a

    “pass-through entity” for these funds, which means that while the NJDOE is the primary

    recipient of the funding, the NJDOE provides the majority of the funds directly to local

    education agencies (LEAs) within the State, which use the funds to provide allowable

    services and programs to students and educators.

 12. Each of the federal grants received by the NJDOE is awarded through a Grant Award

    Notification (GAN), which provides specific information regarding the amount of the award

    and the funding period for the award. In reliance on each GAN, the NJDOE, in accordance

    with the authorizing regulations, makes subawards to LEAs and enters into activities such as

    contracts and memorandums of understanding to fulfill the requirements of the authorizing

    legislation. These activities include hiring staff, providing training and technical assistance,

    monitoring, data collection, to effectuate the purposes of each federal award.

 13. The NJDOE and the subrecipient LEAs use federal funding to operate critical educational

    programs, which include providing supports to students with disabilities, resources for

    homeless students and students from economically disadvantaged families, and supports for
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       safe and supportive school climates, all of which serve to ensure the 1.4 million students

       attending public school in the State have equitable access to a high quality education.

 14.       All of NJDOE’s federal draws are completed on a reimbursement basis. NJDOE

 anticipates drawing down federal funds over the next month based upon the following schedule:

          a. On or before January 29, 2025, NJDOE is scheduled to draw down $ 4,043,806.40 for

               the Biweekly draw. The Biweekly draw reimburses the State for expenditures, such

               as salary for our non-Cash Management Improvement Act (CMIA) grants, purchase

               order payments, travel expenses, indirect expenses, and discretionary grant payments

               processed through the Electronic Web-enable Grant System (EWEG).

          b. On or before January 31, 2025, NJDOE is scheduled to draw down $ 74,114,453.00

               for the entitlement draw. The entitlement draw reimburses LEAs for expenditures

               submitted under each Entitlement grant. These include the following: IDEA Basic

               and Preschool, Perkins and ESEA Titles I, SIA, II, III, Immigrant, IV and V.

          c.   On or before February 3, 2025, NJDOE is scheduled to draw down $ 588,000.00 for

               salaries. The salary draw is only applicable to CMIA grants: ESEA Title I and IDEA-

               B (Basic).

          d. On or before February 15, 2025, NJDOE also anticipates drawing down $ 492,397.15

               for the midmonth draw. This draw is applicable to CMIA grants: ESEA Title I,

               IDEA-B (Basic), and ARP-ESSER. This upcoming draw would cover the period

               from January 1, 2025 through January 31, 2025, and includes expenditures related to

               purchase order payments, travel expenses, discretionary grant payments.

 15. A freeze on federal funding disbursements will cause significant disruption to NJDOE

       operations. It has the potential to deprive NJDOE and New Jersey LEAs of the resources
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    necessary to sustain critical education programs and services for all New Jersey students,

    including students entitled under federal law to additional education supports, such as

    students with disabilities, economically disadvantaged students, multilingual learners,

    students experiencing homelessness, and migrant students. NJDOE must take extraordinary

    measures to address and mitigate the loss of funding and must devote substantial time and

    resources to planning for the severe operational impacts caused by the federal funding freeze.


    I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

 Executed this 28th day of January 2025, in Trenton, New Jersey.




                                                     _____________________________

                                                     Kathleen Ehling
                                                     Assistant Commissioner
                                                     New Jersey Department of Education
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                                  Declaration of Kari Armijo,
                     Cabinet Secretary, New Mexico Health Care Authority

     I, Kari Armijo, hereby declare:

  1. I am the Cabinet Secretary for the New Mexico Health Care Authotity (NM HCA). I oversee

     all of NM HCA’s operations. I have been in this position since 2023. Prior to holding this

     position, I served as NM HCA Deputy Secretary and have over two decades of experience

     with the department, ensuring the delivery of critical health and human services to the

     residents of New Mexico.

  2. I have personal knowledge of the matters set forth below, or have knowledge of the matters

     based on my review of information and records gathered by my staff.

  3. I am providing this declaration to explain certain impacts of the memorandum “Temporary

     Pause of Agency Grant, Loan, and Other Financial Assistance Programs,” Matthew J. Vaeth,

     Acting Director of the Office of Management and Budget (January 28, 2025) (“OMB

     Memo”), which pauses all activities related to obligation or disbursement of all Federal

     financial assistance, and other relevant agency activities that may be implicated by certain

     executive orders, on the State of New Mexico.

  4. The pause will significantly impact the Health Care Authority’s operations, which serve over

     50% of New Mexico’s population. The agency emphasizes the immediate need for the

     disbursement of funds to sustain critical activities across key programs to ensure the health

     and safety of New Mexicans.

  5. NM HCA is New Mexico’s single state Medicaid agency, responsible for the implementation

     and operation of the Medicaid program, including the Children’s Health Insurance Program

     (CHIP), for the citizens of the State of New Mexico. NM HCA also operates the


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     Supplemental Nutrition Assistance Program (SNAP), Temporary Assistance for Needy

     Families (TANF), The Emergency Food Assistance Program (TEFAP), Low-Income Home

     Energy Assistance Program (LIHEAP), Child Support Services and Behavioral Health

     programs that receive substantial federal financial assistance. The mission of the NM HCA is

     to ensure that the citizens of New Mexico attain their highest level of health by providing

     whole-person, cost effective, accessible, and high-quality health care and safety-net services.

  6. This fiscal year, State Fiscal Year 2025, NM HCA has collected approximately $4.3 billion

     in federal assistance and, to continue with programs and services, still needs to receive

     another $4.87 billion. As of the date and time this declaration is signed, NM HCA is unable

     to access the federal payment system used by NM HCA to draw down the federal funds for

     Mediciad and other programs.

  7. This disruption jeporadizes health care and vital programs for more than 1 million New

     Mexicans, including children, individuals with disabilities, and seniors. The NM HCA serves

     nearly 50% of New Mexico’s population. A delay in federal funding will impact essential

     services leaving individuals without a safety net and critical care.

  8. Within the next 1-2 weeks, $409,861,346 in federal funds is expected to support health care

     providers, ensuring uninterrupted care delivery. A delay in these disbursements risks the

     financial viability of which programs, leading to service reductions or closures, particularly

     in underserved areas. Immediate funding is essential to ensure health care, behavioral health

     and safety-net services for the residents of New Mexico are not disrupted.

  9. I declare under penalty of perjury that the foregoing is true and correct to the best of my

     knowledge.




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  Executed this 28 day of January, 2025, in Santa Fe, New Mexico.




                                             ________________________

                                             Kari Armijo




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF [[INSERT]]


                      Plaintiffs,

              v.
                                                     Civil Action No. 1:25-cv-XXX
                                                     Judge [xxx]
                    Defendants.




                                    Declaration of Wayne Propst

     I, Wayne Propst, hereby declare:

  1. I have been the Cabinet Secretary for the New Mexico Department of Finance and

     Administration (“DFA”) since January 2023. I oversee the State’s finances, including

     budgeting, financial planning, financial reporting, payroll, financial controls, administrative

     services, and general fiscal oversight.

  2. As the Cabinet Secretary for DFA, I have personal knowledge of the matters set forth below

     or have gained knowledge based on my review of information and records gathered by my

     staff.

  3. I am providing this declaration to explain particular impacts of the memorandum “Temporary

     Pause of Agency Grant, Loan, and Other Financial Assistance Programs,” Matthew J. Vaeth,

     Acting Director of the Office of Management and Budget (January 28, 2025) (“OMB Memo”),

     which pauses all activities related to obligation or disbursement of all Federal financial

     assistance, and other relevant agency activities that specific executive orders, on the State of

     New Mexico may implicate.

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  4. DFA serves New Mexico through fiscal management support for state agencies, local

     government, and community-based programs to achieve responsible and quality fiscal services

     for all New Mexicans.

  5. For the fiscal year ending June 30, 2024 (“FY24”), the State of New Mexico’s total budget

     was twenty-six billion six hundred fifty-nine million dollars ($26,659,000,000). This budget

     consisted of fifteen billion four hundred fifty-nine thousand dollars ($15,459,000,000) in State-

     funded spending and eleven billion two hundred million ($11,200,000) in direct aid from the

     Federal government.

  6. For the current fiscal year ending on June 30, 2025 (“FY25”), the State of New Mexico’s total

     budget was twenty-eight billion nine hundred seventy-six million dollars ($28,976,000,000).

     This budget consists of sixteen billion nine hundred twenty-three million dollars

     ($16,923,000,000) in State-funded spending and twelve billion fifty-three million dollars

     ($12,053,000,000) in direct aid from the Federal government.

  7. Direct aid from the Federal Government accounted for forty-two percent (42%) of the State of

     New Mexico Budget in FY 24 and forty-one and three-fifths percent (41.6%) for FY 25.

  8. Direct aid from the Federal Government funds key programs and initiatives throughout the

     state, including unemployment insurance, Medicaid, temporary assistance for needy families

     (TANF), and vocational rehabilitation programs.

  9. Sixty-eight (68) State agencies receive Federal funding and have included this funding within

     their budgets for FY 25.

  10. This includes entities like the Department of Workforce Solutions (FY 25 - $89,800,000 [72%

     of its budget]), which administers unemployment insurance; the Department of Children,

     Youth, and Families (FY 25 – $95,400,000 [25% of its budget]), who provide family services,



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     behavioral health services, and juvenile justice services to communities in New Mexico; the

     Early Childhood Education and Care Department (FY 25 - $147,000,000 [19 % of its budget]),

     which provides cohesive, equitable, and effective programs from prenatal to five; the

     Department of Health (FY 25 – $175,000,000 [32% of its budget]), performs a wide range of

     duties that formulate a statewide public health system for New Mexicans; and the Department

     of Transportation (FY 25 - $558,000,000 [44% of its budget]).

  11. The State of New Mexico currently has three billion one hundred sixty-four million, two

     hundred four thousand three hundred sixteen dollars ($3,164,204,316) in reserve. The State

     expends seven hundred nine million twenty-one thousand four hundred thirty dollars

     ($709,021,430) per month. At this rate, without the anticipated Federal funding, the State will

     deplete its reserve cash balances within five (5) months.

  12. Any delays in receiving Federal funding will have immediate and catastrophic effects on the

     State of New Mexico’s finances, including its FY 25 Budget and existing debt portfolio.

     Additionally, any delays in receipt of Federal funding will jeopardize the services the State

     provides to its citizens, including essential services, unemployment insurance, and Medicaid.

  I declare under penalty of perjury that the foregoing is true and correct to the best of my

  knowledge.

         Executed this 28th day of January 2025 in Santa Fe County, New Mexico.



                                       _______________________________
                                       Wayne Propst
                                       Cabinet Secretary
                                       New Mexico Department of Finance and Administration




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                            Declaration of Katherine “K.D.” Chapman-See

     I, Katherine “K.D.” Chapman-See, hereby declare:
         1.         I am over the age of 18, competent to testify as to the matters herein, and make this

  declaration based on my personal knowledge and the records of the Washington State Office of
  Financial Management (“OFM”) to which I have access.
         2.         I am the Director of the Office of Financial Management (“OFM”) for the State of

  Washington. I have served as Director of OFM since my appointment January 15, 2025. I have
  over 13 years of experience in budgeting and policy development. Prior to becoming Director of
  OFM, I spent two years as Legislative Affairs Liaison for OFM. Prior to working for OFM, I
  served as Policy Director, Deputy Policy Director, and as a Policy Analyst for the Washington

  State House of Representatives between 2011 and 2022, with responsibilities for advising and
  making recommendations to legislators on the state’s operating budget, revenue, pensions, labor,

  higher education, agriculture and natural resource policy issues. From 2008 to 2011, I worked for
  the Washington State Office of the Lieutenant Governor as the office’s Legislative and Community

  Liaison. I hold a Bachelor’s degree in Anthropology from the University of Chicago.

         3.         OFM provides vital information, fiscal services and policy support that the
  Governor, Legislature, and State agencies need to serve the people of Washington State. OFM

  plays a central role in budget planning, policy development, and fiscal administration for the
  executive branch. OFM prepares the executive budget proposal and monitors budget

  implementation. OFM also manages statewide human resource policy functions including

  classification, compensation, workforce data, recruitment, and other policy functions.
         4.         As Director, I oversee all aspects of OFM and ensure that OFM is providing

  accurate budgetary information and policy support to the Governor, Legislature, State agencies,
  and the public.

         5.         I am aware of the January 27, 2025, memorandum from Office of Management and

  Budget Acting Director Matthew J. Vaeth regarding a “Temporary Pause of Agency Grant, Loan,
  and Other Financial Assistance Programs.” This memorandum directs all federal agencies to,

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  among other things, “temporarily pause all activities related to obligation or disbursement of all

  Federal financial assistance” for an undisclosed amount of time. If such a pause went into effect,

  it would have a devastating effect on the State of Washington, its operations, and its residents.
         6.      OFM regularly calculates its State Expenditure of Federal Awards (“SEFA”). The
  SEFA calculation includes all federal funds that the State receives in a given fiscal year.

         7.      For the most recent fiscal year—FY2024, running from July 1, 2023 to June 30,
  2024—Washington received $27,439,038,022 in federal funding. This comprised approximately
  32% of Washington’s total budget for FY2024.
         8.      This $27,439,038,022 only includes money paid to the state by the federal
  government, meaning it does not include Social Security or Medicare.

         9.      As I understand Acting Director Vaeth’s memorandum, not all of this

  $27,439,038,022 would meet the definition of “federal financial assistance” covered by the
  memorandum. For example, the largest single component of this total was Medicaid

  reimbursements, which accounted for approximately $13 billion in FY2024 SEFA. These
  reimbursements are excluded from the definition of “federal financial assistance” under 2 CFR

  200.1, though I understand that Washington attempted to request reimbursement—even before the

  OMB Memo was set to take effect—and that request has not been timely processed.
         10.     However, Acting Director Vaeth’s memorandum would apply to all manner of

  critically important programs in Washington. Although it is not at all clear what the memorandum
  actually covers, it appears to halt, for example:

                     a. Supplemental Nutrition Assistance Program, commonly known as food

                         stamps, which amounted to over $1.9 billion in FY2024 SEFA.;
                     b. Highway planning and construction funds, which amounted to over $952

                         million in FY2024 SEFA. These funds include the Highway Infrastructure
                         Program, which provides federal funds for road, bridge, ferry, transit

                         capital, and Intelligent Transportation System capital projects for the



                                                                                                      3
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                           elimination of hazards and the installation of protective devices at railway-

                           highway crossing. 1;

                      c. Child Care and Development Block Grants, which amounted to over $393
                           million in FY2024 SEFA. This is the primary federal grant program that
                           allows states to provide childcare assistance to low-income working

                           families with children under age 13. 2;
                      d. National School Lunch Program, which amounted to over $361 million in
                           FY2024 SEFA. This program provides nutritious meals to children. Public
                           school districts, private schools, residential child care institutions, and
                           Charter Schools may participate in school meal programs. 3;

                      e. Title I education grants, which amounted to over $310 million in FY2024

                           SEFA. Title I funds instructional help to children whose academic
                           performance is below average, based on a formula that targets funding to

                           schools and districts with higher percentages of students in poverty. 4;
                      f. Special Education grants, which amounted to over $275 million in FY2024

                           SEFA. This program serves to meet the excess costs of providing special

                           education and related services to children with disabilities, including
                           support and direct services, technical assistance and personnel preparation,

                           assisting schools in providing positive behavioral interventions and
                           supports, and improving the use of technology in the classroom. 5;

                      g. Foster care grants, which amounted to over $166 million in FY2024 SEFA.

                           This program, among other things, provides safe and stable out-of- home


  1
    https://wsdot.wa.gov/business-wsdot/support-local-programs/funding-programs/highway-infrastructure-program
  2
    https://dcyf.wa.gov/about/government-affairs/ccdf
  3
    https://ospi.k12.wa.us/policy-funding/child-nutrition/school-meals/national-school-lunch-program
  4
    https://ofm.wa.gov/budget/agency-activities-and-performance/agency-
  activities/350#:~:text=The%20state%20Learning%20Assistance%20Program,learning%20needs%20in%20the%20d
  istrict.
  5
    https://www.ed.gov/grants-and-programs/formula-grants/formula-grants-special-populations/special-education-
  grants-to-states

                                                                                                             4
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                           care for eligible children and youth until they are safely returned home,

                           placed permanently with adoptive families or legal guardians, or placed in

                           other planned arrangements for permanency. 6;
                       h. Child support enforcement, which amounted to over $134 million in
                           FY2024 SEFA.;

                       i. Allergy and infectious disease research, which amounted to over $121
                           million in FY2024 SEFA.;
                       j. Low-income home energy assistance, which amounted to over $96 million
                           in FY2024 SEFA. This program helps keep families safe and healthy
                           through initiatives that assist families with energy costs. LIHEAP provides

                           federally funded assistance to reduce the costs associated with home energy

                           bills, energy crises, weatherization, and minor energy-related home
                           repairs. 7;

                       k. Substance abuse treatment block grants, which amounted to over $65
                           million in FY2024 SEFA. This grant helps plan, carry out, and evaluate

                           activities for the prevention, treatment, and recovery of substance abuse for

                           individuals not covered by Medicaid.” 8;
                       l. Veterans nursing care funding, which amounted to over $59 million in

                           FY2024 SEFA; and
                       m. Hundreds or thousands of other programs, covering everything from

                           immunizations to clean water to adoption assistance to transit to childcare

                           to global AIDS prevention to National Guard operations to crime victim
                           assistance to immigration and refugee assistance to wildlife restoration, and

                           on and on.



  66
     https://www.acf.hhs.gov/cb/grant-funding/title-iv-e-foster-care
  7
    https://www.acf.hhs.gov/ocs/programs/liheap, https://www.commerce.wa.gov/community opportunities/liheap/
  8
    https://www.hca.wa.gov/about-hca/programs-and-initiatives/behavioral-health-and-recovery/block-grants

                                                                                                               5
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         11.     While it is not clear exactly what is covered by Acting Secretary Vaeth’s

  memorandum, it is safe to say the memorandum would apply to billions of dollars in federal

  funding for Washington.
         12.     In the event that federal funds are suddenly withheld, even temporarily, Washington
  simply does not have funds to cover all of these necessary programs that are currently funded

  through federal dollars. And it most certainly does not have the funds to backfill federal dollars
  while continuing to pay for all of the many state-funded programs on which its residents rely.
  Thus, pausing or terminating federal funds would necessarily entail cuts—likely drastic cuts—to
  key services provided by state agencies on which Washington residents depend.
         13.     This threat to federal funding comes at a precarious time for Washington. Our state

  is one of several states facing a budget shortfall. Due to inflation, higher projected caseloads in

  several safety net programs, expansion of popular programs like early learning, and workforce
  costs, combined with revenue declines due to lagging home sales and collections for sales and

  capital gains taxes, Washington is facing a forecasted budget deficit of over $12 billion over the
  next four years. Many Washington state agencies are facing budget cuts of between three and six

  percent to account for the lack of funding.

         14.     OMB’s direction to withhold additional billions of dollars in federal funding, even
  temporarily, would interfere with critical state programs, drastically worsen Washington’s budget

  shortfall, and make it nearly impossible for state agencies and our Legislature to intelligently
  prioritize needed budgeting needs.

         I declare under penalty of perjury under the laws of the State of Washington and the

  United States of America that the foregoing is true and correct.
         Executed this 28th day of January 2025, in _                        ______.




                                                Katherine “K.D.” Chapman-See
                                                Director
                                                Washington State Office of Financial Management
                                                                                              6
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                       DECLARATION OF ELIZABETH MAHER MUOIO
         I, Elizabeth Maher Muoio, pursuant to 28 U.S.C. § 1746, hereby declare that the

  following is true and correct:

  1. I am the State Treasurer of the State of New Jersey. My educational background includes a

     B.A. from Wesleyan University and a J.D. from Georgetown University. I have served as

     State Treasurer since April 2018, and before that I served as Acting State Treasurer from

     January to April 2018. As State Treasurer, I oversee New Jersey’s Department of Treasury,

     which is responsible for managing the State’s budget, collecting revenues, and disbursing

     appropriated funds.

  2. I submit this Declaration to explain certain impacts on the State of New Jersey of the

     directive issued to all Federal agencies in the Office of Management and Budget’s January

     27, 2025 memo to “temporarily pause all activities related to obligation or disbursement of

     all Federal financial assistance, and other relevant agency activities that may be implicated

     by [certain] executive orders” (“OMB Memo”).

  3. I have compiled the information in the statements set forth below based on personal

     knowledge, information provided by the Department of Treasury’s Office of Management

     and Budget, and other information provided to me by Department of Treasury personnel. The

     statements below also reflect information received by the Department of Treasury from other

     State agencies.

  4. As part of the yearly budget process, the New Jersey Legislature appropriates expected and

                                                                                 ipated federal

     funding amounts are calculated based on a number of factors, including, for example,

     whether the federal funding is based on a multi-year grant that guarantees specific amounts



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     of annual funding, a federal funding formula that allows the State to predict its annual

     receipts, or some other funding mechanism.

  5. Based on enacted federal laws and federal grant commitments, New Jersey is expected to

     receive approximately $27.5 billion in federal funding across a broad range of programs for

     fiscal year 2025. This includes, but is not limited to:

         a. more than $17 billion for the State’s Department of Human Services;

         b. more than $2.8 billion for the State’s Department of Transportation;

         c. more than $1.2 billion for the State’s Department of Education;

         d. more than $1.2 billion for the State’s Department of Agriculture;

         e. more than $700 million for the State’s Department of Health;

         f. more than $1 billion for the State’s Department of Environmental Protection; and

         g. almost $600 million for the State’s Department of Labor & Workforce Development.

  6. New Jersey relies on federal funding to operate critical programs that New Jersey residents

     depend on, including for healthcare, education, unemployment insurance, and infrastructure.

  7. A freeze in disbursement of federal funds that have already been obligated to the State of

     New Jersey will have an immediate effect on several of the State’s programs and operations.

  8. New Jersey periodically draws from federal funding accounts to fund operations for various

     programs. For some programs—such as the Women, Infants, and Children (WIC)

     program—the Department of Health draws down funds on a daily basis. Drawdowns for

     other programs occur on a weekly, biweekly, or monthly basis. For example, the Department

     of Human Services draws down federal funding for Medicaid on a weekly basis. The

     Department of Transportation also draws down federal funding on a weekly basis.




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  9. Salaries and benefits for approximately 10,000 state employees—representing approximately

     15 percent of the State’s payroll—are funded by the federal government. New Jersey relies

     on approximately $56 million in federal funding per pay period to pay these employees’

     salaries and benefits.

  10. As of today, several New Jersey agencies have reported to the Department of Treasury that

     electronic systems that they utilize to draw down federal funds—including for Medicaid,

     Head Start, FEMA funding, WIC, and emergency aid programs—have been frozen. As a

     result, these state agencies have been unable to access federal funding for critical operations.

  11. As one example, New Jersey’s Medicaid program is scheduled to make approximately $1.5

     billion in payments this Friday to pay healthcare costs for Medicaid enrollees. As of today,

     the State’s Department of Human Services has been unable to draw down any federal

     funding for Medicaid payments. DHS has been locked out of the federal Medicaid payment

     system, which is displaying the following statement: “PAYMENT DELAYS: Due to

     Executive Orders regarding potentially unallowable grant payments, PMS is taking

     additional measures to process payments. Review of applicable programs and payments will

     result in delays and/or rejections of payments.”

  12. In addition to the agencies and programs identified above, New Jersey’s independent

     authorities also receive additional direct federal appropriations, which the State Department

     of Treasury does not have visibility into. These independent authorities include but are not

     limited to New Jersey Transit and the New Jersey Economic Development Authority.

     Disruptions in federal funding to these independent authorities will have additional ancillary

     impacts on the State.




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     I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct.



  Executed this 28th day of January, 2025, in Trenton, New Jersey.




                                                      __________________________
                                                      Elizabeth Maher Muoio
                                                      State Treasurer, State of New Jersey




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